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              In the United States Court of Federal Claims
                                         No. 06-613 C
                                      (January 12, 2007)1

                                       UNPUBLISHED


 * * * * * * * * * * * * * **     *
 PACIFIC HELICOPTER TOURS,        *                 Post-Award Bid Protest; Best
 INC.,                            *                 Value Negotiated Procurement;
            Plaintiff,            *                 Transport of Department of
                                  *                 Defense Personnel; Air Mobility
         v.                       *                 Command Certification;
                                  *                 Timeliness of Challenge to Terms
 THE UNITED STATES,               *                 of Solicitation; Contract
                                  *                 Administration; Proposal
            Defendant,            *                 Analysis.
                                  *
 CROMAN CORPORATION,              *
                                  *
            Intervenor-defendant. *
 * * * * * * * * * * * * * **                  *

     David M. Nadler, with whom were Joseph R. Berger and Justin A. Chiarodo,
Washington, D.C., for plaintiff.

      Joan M. Stentiford, United States Department of Justice, with whom were Peter
D. Keisler, Assistant Attorney General, David M. Cohen, Director, and Bryant G.
Snee, Assistant Director, Washington, D.C., for defendant.

     Eric J. Marcotte, with whom were Scott A. Schipma and Nathan C. Guerrero,
Washington, D.C., for intervenor-defendant.


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        / This opinion was issued under seal on November 28, 2006. Pursuant to ¶ 3 of the
ordering language, the parties identified proprietary material subject to deletion on the basis that
the material was protected/privileged. Brackets identify the material deleted.
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                         __________________________

                                  OPINION
                         __________________________

Bush, Judge

        This post-award bid protest action is before the court following cross-
motions for judgment on the administrative record, filed under Rule 52.1 of the
Rules of the United States Court of Federal Claims (RCFC). Plaintiff Pacific
Helicopter Tours, Inc. (plaintiff, PHT), is a small, minority-owned, women-owned
Hawaii corporation based on Maui, Hawaii. PHT has provided specialized
helicopter aviation services to the Hawaiian Islands for more than thirty years. In
this lawsuit, filed September 1, 2006, plaintiff protests a decision by the United
States Department of the Navy, Naval Air Systems Command (Navy, the agency)
to award a contract for commercial helicopter services to Croman Corporation
(intervenor, Croman). Work under the challenged contract will support the Navy’s
operations at the Pacific Missile Range Facility (PMRF) based at Barking Sands,
Kauai, Hawaii, and will replace the operations support tasks formerly performed
by the Navy’s H-3 Squadron. The H-3 Squadron, which was decommissioned by
the Navy at the end of Fiscal Year 2006, primarily performed target launch,
weapon and target recovery, explosive ordnance and demolition operations, and
extended range visual surveillance services at the PMRF. As a disappointed bidder
on the contract to replace those services, PHT complains that award to Croman was
arbitrary and capricious, because that company cannot legally perform critical
aspects of the work sought by the Navy. PHT asks the court to enjoin the award to
Croman, and to order the agency to resolicit the contract in a manner that complies
with federal law.

       The administrative record (AR) in this matter was filed on September 20,
2006, and plaintiff moved for judgment on the administrative record on October
10, 2006. The United States (defendant) and Croman (collectively, defendants)
filed cross-motions on October 23, 2006. The motions have been fully briefed.
PHT responded to defendants’ motions on October 30, 2006, and Croman and the
government replied on November 3, 2006. Discovery was not requested by the
parties. Oral argument was heard on November 8, 2006. For the reasons that
follow, the court finds that the award to intervenor was neither arbitrary,
capricious, an abuse of discretion, nor otherwise contrary to law. Plaintiff’s

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motion for judgment on the administrative record is denied, and defendants’ cross-
motions are granted.

                                       BACKGROUND

       On July 29, 2005, the Navy issued Request for Proposals No. N00019-05-R-
0033 (Solicitation). AR at 165. The Solicitation offered an Indefinite
Delivery/Indefinite Quantity (ID/IQ) contract, with a five year period of
performance comprised of one base year and four option years. Id. at 83. The
contract was to be set aside for small businesses, and was classified under North
American Industrial Classification System (NAICS) Code2 481211,
“Nonscheduled Chartered Passenger Air Transportation.”3 See id. at 93. The
Solicitation described the work sought by the agency as follows:

               provide to the United States Navy . . . a wide variety of airborne
               capabilities, through the use of privately owned and operated
               aircraft, to include but not limited to training assistance, supply,
               and support for shipboard and aircraft groups and personnel
               operating in the Hawaiian Operating Area (OPAREA). The


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         / NAICS codes are used by governmental agencies, and the United States Small
Business Administration (SBA), to establish size standards to determine the entities which
qualify as small businesses for preferences or eligibility in government procurements. See
Advanced Sys. Tech., Inc. v. United States, 69 Fed. Cl. 474, 475 n.1 (2006). The United States
Office of Management and Budget (OMB) assigns NAICS codes to various industry sectors, and
SBA determines which firms qualify as small businesses in accordance with those codes, “to
assure that a fair proportion of government contracts for goods and services are performed by
such entities in each industry category.” Id. at 476 (citing 15 U.S.C. §§ 637(b)(6), 644(a)
(2000)). To do so, SBA specifies the maximum number of employees, or the maximum annual
receipts, which a company may have in order to qualify as a small business within a particular
code. Id. (citing 13 C.F.R. § 121.201 (2006)); see also United Enter. & Assocs. v. United States,
70 Fed. Cl. 1, 7 n.12 (2006). Then, according to SBA regulations, procuring agencies specify
the NAICS code and accompanying size standard applicable to each federal procurement in
which small business status is required or preferred. Advanced Systems Technology, 69 Fed. Cl.
at 476; 13 C.F.R. § 121.401 (2006).
       3
         / The initial Sources Sought Announcement, issued by the Navy on May 28, 2004,
referenced NAICS code 488190, “Other Support Activities for Air Transportation.” AR at 4.
The NAICS code was later changed to 481211 on the recommendation of the SBA. Plaintiff
attributes this change to the fact that “the transport of passengers was integral to the
procurement.” Pl.’s Mot. at 5 (citing AR at 12-13, 36-37).

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             contractor shall primarily operate aircraft from Barking Sands,
             Kauai, HI.

Id. at 199. The Solicitation’s Contract Line Item Number Descriptions and an
Acquisition Plan published in conjunction with the Solicitation explained that the
work would entail target launch and recovery, airborne firefighting, visual
surveillance, ordnance transport, and passenger transport. See id. at 202, 86-87.
The Acquisition Plan explained that “[s]tart-up time (8 weeks) ha[d] been allowed
for a new contractor to configure its aircraft with equipment and to obtain training
prior to providing required services.” Id. at 85; see also id. at 93 (“The contractor
will be given up to 60 days after award for phase into full performance.”). The
Solicitation also stated that the contract would commence on the day of award. Id.
at 220.

       The Solicitation set forth several certification standards that offerors were
required to meet to qualify for award. First, the Solicitation mandated that all
proposed aircraft be listed on Federal Aviation Administration (FAA)
airworthiness certificates “applicable to the type of tasks that [would] be performed
during the period of performance” of the contract. Id. at 206 (stating that “for
aircraft operations in which 14 CFR Part 135 and 133 operations are stipulated or
required, aircraft must be certified with an FAA Standard Category airworthiness
certificate”). More specifically, because the proposed work involved the retrieval
of Navy projectiles from the ocean, the agency required FAA certification under 14
C.F.R. Part 133. Id. at 271. Part 133 regulations address external-load operations.
14 C.F.R. § 133.1 (2006). Because the work required also included the transport of
Navy personnel, certification under 14 C.F.R. Part 135 was required. AR at 271.
The regulations included in that section address commuter operations. 14 C.F.R. §
135.1 (2006).

       Most importantly to this protest, the Solicitation stated that “[a]ll aircraft
shall be operated in accordance with all applicable Government aeronautical
regulations, including USN, USAF, and local military flying directives . . . . The
contractor will comply with all DoD requirements for operation of civil aircraft in
support of military operations.” AR at 207. As a part of that general policy, the
Solicitation required offerors to be certified by the United States Department of
Defense (DOD) Air Mobility Command (AMC), under the terms set forth at 32
C.F.R. § 861 (2006). Id. at 275. The Solicitation emphasized the importance of
AMC certification, and stated a clear deadline for the receipt of certification:

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             The Offeror must posses[s] Air Mobility Command (AMC)
             certification as per 32 CFR 861 to provide passenger transport in
             the Hawaiian theater using passenger aircraft. The Offer[or] must
             provide a copy of the actual AMC certificate. If the offeror does
             not currently possess AMC certification for the services to be
             provided under this contract, provide a plan of action to obtain
             certification prior to 1 November 2005 or 60 days after contract
             award whichever occurs first.

Id. The Acquisition Plan also referenced these requirements, stating that

             [t]he contractor will operate under FAA Part 135, or Civilian
             Aviation Authority equivalent, and must be AMC certified prior to
             contract award to support utility/transport missions. The
             contractor’s aircraft must be equipped in accordance with current
             FAA regulations and other agency regulations as applicable.

Id. at 85.

       Section M of the Solicitation, titled “Evaluation Factors for Award,” set
forth the method by which the agency planned to evaluate proposals:

             One offeror will be selected on the basis of its proposal being the
             best value to the Government, all factors considered. Prospective
             offerors are advised that a proposal meeting the solicitation
             requirements with the lowest price may not be selected if award to
             a higher cost offeror is determined to be more advantageous to the
             Government.

                                            ****
             Evaluation Criteria

             All proposals that meet the pre-requisite requirements will be
             evaluated for compliance with the terms, conditions and
             requirements set forth by the solicitation. Proposals will be
             evaluated using the factors listed below. Experience is more
             important than Technical or Past Performance. Technical and
             Past performance are equally important. Price is less important
             than any of the other factors. The combination of the non-price
             factors is significantly more important than price.

                                            ****



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    The proposal must demonstrate to the Government’s satisfaction
    that the offeror will provide a program that will ensure the
    successful accomplishment of the Performance Work Statement
    (PWS), overall program objectives, and the potential to meet the
    solicitation requirements.

    Proposal information provided for one factor may be used to
    assess other factors if the Government considers it appropriate. In
    addition, the offeror’s technical proposal will be reviewed to
    determine if it is consistent with the price proposal and reflects a
    clear understanding of the scope of work necessary to meet the
    solicitation requirements.

    For the technical factor, a proposal rating and proposal risk will
    be assigned. The proposal rating will depict how well the
    proposal will meet the solicitation requirements. The proposal
    risk will address potential impacts of the proposed approach on
    performance, schedule, and cost in achieving solicitation
    requirements and program objectives.

    For Past Performance and for Experience, a separate performance
    risk rating will be assigned. This risk rating will address the
    probability of the offeror successfully accomplishing the requested
    effort based on the offeror’s (including subcontractors’ and/or
    team members’) relevant past performance and systemic
    improvement, or demonstrated experience. Under Past
    Performance, the Government will evaluate how well an offeror
    has performed similar work before. Under Experience, the
    Government will evaluate whether, and to what extent, an offeror
    has performed similar work before.

                                   ****

    The rating and risk definitions are provided in Section M for
    ratings standards. Offerors are advised that during the evaluation
    process, subfactors that receive a “Marginal” or “Unsatisfactory”
    rating or “High” risk may have a disproportionate impact on the
    overall factor rating or risk. A deficiency resulting in an
    “Unsatisfactory” proposal rating for any subfactor may result in a
    factor rating of “Unsatisfactory” and the entire proposal found
    unacceptable and eliminated from the competition. A risk
    assessment of “High” in any sub factor may also result in the
    entire proposal being found unacceptable and eliminated from the
    competition.


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    SPECIFIC CRITERIA

    A.    Experience - The Government will evaluate the offeror’s,
          and (if applicable), its principal subcontractors’ and
          critical team members’ demonstrated relevant experience
          on the basis of its breadth and depth of experience
          performing the type of work required to meet program
          objectives. Particular emphasis will be placed on the
          offeror’s experience in coordinating with Government
          program and contracting teams, managing subcontractors,
          management of assets and resources to ensure successful
          completion of missions, and utilization of qualified
          personnel (including the use of FAA certified pilots) for
          contract performance.

    B.    Technical - The Government will evaluate the proposal to
          determine the offeror’s understanding of, approach to, and
          ability to meet solicitation requirements. The offerors
          technical approach will be evaluated for the breadth and
          depth of understanding of the complexity of each type of
          mission addressed. Particular emphasis will be placed on
          the offeror’s possession of or plan of action to obtain AMC
          certification, use of GFE in the missions such as the pole,
          basket, fire fighting equipment and launch mission; as well
          as the ability to meet or exceed aircraft performance
          characteristics (e.g., speed/altitude, time on station,
          configuration/special equipment, and internal capacity),
          the proposed management of scheduled and unscheduled
          maintenance and impact to the fleet. Emphasis will also be
          placed on proposed pilot and crew FAA qualifications and
          availability to meet mission requirements.

    C.    Past Performance - The Government will evaluate the
          offeror’s and (if applicable) its principal subcontractors’
          and critical team members’ demonstrated past
          performance in delivering quality products and in meeting
          technical, cost, and schedule requirements on similar
          programs. Problems not addressed by the offeror will be
          considered to still exist. However, consideration for
          discounting problems may be given when those problems
          are addressed through demonstrated systemic
          improvement.

    D.    Price - Each offeror’s price proposal shall be evaluated to


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                     determine whether it is complete, consistent and
                     reasonable with the offeror’s technical approach, reflects a
                     clear understanding of the solicitation requirements and
                     contains no material imbalances. Unreasonable prices or
                     unbalanced or inconsistencies between the Technical and
                     Price proposals may be assessed as proposal risk under the
                     Technical factor. An offeror’s proposal is presumed to
                     represent his best efforts to respond to the solicitation. Any
                     inconsistency, whether real or apparent, between promised
                     performance and cost/price should be explained in the
                     proposal. For example, if the intended use of new and
                     innovative techniques is the basis for an abnormally low
                     estimate, the nature of these techniques and their impact on
                     price should be explained. In its evaluation, the
                     Government may use commercial published data, same or
                     similar DoD contracts, Government estimates, industry
                     standards, DCAA audit information, or other information
                     as deemed appropriate by the Government.

                     For evaluation purposes only, the total price to the
                     Government will be considered the total evaluated price as
                     the sum of all the priced CLINs for the Base Contract
                     period and all option years.

Id. at 279-81.

       The Navy received six proposals in response to the Solicitation. See id. at
1066. After preliminary evaluations, plaintiff’s proposal received the most
favorable ratings. Id. at 1067. The price offered by PHT, however, was higher
than that from Croman, and it exceeded the Navy’s Independent Government
Estimate (IGE) for the work. For those reasons, the agency concluded that it could
not justify the payment of a price premium to PHT in exchange for its superior
Technical and Experience ratings. Id. at 1071. The Navy then determined that the
proposals from PHT and Croman were within the competitive range, and opened
discussions with those offerors to allow further development of proposals. Id. The
proposals were subsequently re-evaluated. At that time, Croman’s proposal
received an Experience rating of Satisfactory/Low Risk, and PHT’s proposal
received an Experience rating of Highly Satisfactory/Low Risk.4 Id. at 1215-16.


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       / Notably, these ratings did not comport with the directions set forth in Section M of the
                                                                                     (continued...)

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Croman’s Technical proposal was rated Satisfactory/Low Risk, and PHT’s
Technical proposal was rated Highly Satisfactory/Low Risk.5 Id. at 1215-17. The
agency’s selection committee then briefed the Navy’s Source Selection Authority
(SSA), Ms. Carol Tisone, on its findings. Id. at 1220 et seq. The committee []

               [].

Id. at 1235. Shortly thereafter, the agency’s Source Selection Advisory Council
(SSAC) recommended an award to Croman. Id. at 1243. The SSA concurred with
that recommendation, explaining in a Source Selection Decision Memorandum
that, []. On October 19, 2005, the Navy awarded the contract to Croman.

       After PHT learned of the award, plaintiff requested a debriefing regarding
the Navy’s decision. Id. at 1302. On November 2, 2005, defendant informed PHT
that although its proposal had received the most favorable Experience and
Technical ratings, the government had awarded the contract to Croman based on its
lower price. Id. at 1334 et seq. Ten days later, on November 12, 2005, PHT filed a
bid protest before the United States Government Accountability Office (GAO).
See id. at 1349. Plaintiff argued that Croman was ineligible for award and should
have been disqualified from the competition because it had not met the
Solicitation’s AMC certification requirement. Id. PHT pointed out, correctly, that
Croman was not AMC certified at the time of award, and that it would not become
eligible for certification within the time frame set forth in the Solicitation. Id. To
show that the lack of certification disqualified Croman from competition, PHT
highlighted the Solicitation’s provision that “[c]ontractor must . . . satisfy DOD
quality and safety requirements as described in 32 CFR Part 861, Section 861.3,”
and the Solicitation’s “General Instructions,” which stated that

               [t]he Offeror must posses[s] Air Mobility Command (AMC)
               certification as per 32 CFR 861 to provide passenger transport in
               the Hawaiian theater using passenger aircraft. The Offer[or] must


       4
         (...continued)
Solicitation, titled “Evaluation Factors for Award.” The Solicitation stated that a performance
risk rating would be assigned regarding each offeror’s Experience, but did not mandate
assignment of a proposal rating. See AR at 280.
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         / The Navy also assigned Past Performance ratings to both proposals. Because those
ratings are not challenged by PHT, they will not be summarized here.

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             provide a copy of the actual AMC certificate. If the offeror does
             not currently possess AMC certification for the services to be
             provided under this contract, provide a plan of action to obtain
             certification prior to 1 November 2005 or 60 days after contract
             award whichever occurs first.

AR at 242, 275. Plaintiff also pointed to the Solicitation’s statement that, as a part
of the agency’s evaluation of the Technical aspects of a proposal, “[p]articular
emphasis [would] be placed on the offeror’s possession of or plan of action to
obtain AMC certification.” Id. at 280. As a result of PHT’s protest, award to
Croman was suspended in accordance with 31 U.S.C. § 3553(d) (2000). See id. at
1362. The Navy did not override the suspension based on urgent and compelling
circumstances. Instead, defendant cancelled the award to Croman and announced
its intent to revise the Solicitation. GAO then dismissed PHT’s protest as
academic. Id. at 1383.

      On January 18, 2006, the Navy revised the Solicitation and incorporated a
number of changes to the original terms of that document. Id. at 1635. The change
most relevant to this lawsuit is reproduced below:

             Under subparagraph 5.3 Aircraft Availability/Reliability,
             DELETE in its entirety and SUBSTITUTE with the following:

             “5.3 Aircraft Availability/Reliability: The Offeror must posses[s]
             Air Mobility Command (AMC) approval as per 32 CFR 861 to
             provide passenger transport in the Hawaiian theater using
             passenger aircraft. The Offeror must provide a copy of the actual
             AMC Certification. If the offeror does not currently possess AMC
             approval for the services to be provided under this contract, the
             offeror must demonstrate its ability to receive AMC approval
             after contract award through the submittal of a completed AMC
             Form 207, DOD Statement of Intent, which is required by
             Department of Defense (DOD) Commercial Air Carrier
             Program. This form may be obtained on AMC’s webpage, http://
             public.amc.af.mil/business/a34b/.

AR at 1642, 1653 (emphasis in original). The revised Solicitation explained that,
as part of the agency’s Technical evaluation, “[i]f an offeror lack[ed] current AMC
approval, its submission of the AMC Form 207, DOD Statement of Intent, [would]
be evaluated to assess the likelihood of obtaining approval.” Id. at 1643, 1655.


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        Revised proposals were submitted in response to the Solicitation, and on
March 15, 2006, the Navy notified PHT that it had been eliminated from the
competition because it had failed to provide a Standard Airworthiness Certificate
for its proposed Bell 412 (N412JH) medium lift aircraft. Id. at 2135. This
prompted a second protest before the GAO, filed by plaintiff on March 31, 2006.
See id. at 2857-74. In that protest, PHT argued that its exclusion from the
competition was improper because, although it had not submitted a certificate for
its medium lift aircraft, it had submitted certificates for two other helicopters.
Plaintiff contended that documentation regarding the other two aircraft was
sufficient under the terms of the Solicitation. Id. As with the first protest, the
procurement was suspended under 31 U.S.C. § 3553(c). Again, the Navy did not
override the suspension based on urgent and compelling circumstances. After
GAO advised the Navy that PHT’s protest would likely be sustained, the Navy
reinstated PHT into the competition. See AR at 2875. The GAO then dismissed
this second protest as academic, and the evaluation of proposals was completed
with PHT among the offerors eligible for award.

        The record shows that Croman’s ratings improved significantly after
evaluation of the revised proposals. Intervenor’s Experience rating increased from
Satisfactory/Low Risk to Very Low Risk. Id. at 3410. PHT, in contrast, received a
Low Risk rating on the Experience factor, as it had done in the initial evaluation.
Id. at 3413. The Navy also []. In Technical evaluations, Croman’s score improved
by two levels, from Satisfactory/Low Risk to Outstanding/Low Risk. Id. at 3419.
PHT’s Technical rating also improved, from Highly Satisfactory/Low Risk to
Outstanding/Low Risk. Id. at 3421.6 Thus, after the second round of evaluations,
Croman and PHT were rated equally under the Technical factor, but Croman was
rated more favorably in Experience. At that time, Croman offered a best and final
contract price of $58,617,566. PHT, on the other hand, had lowered its price
significantly, and proposed to fulfill the contract for $56,310,730. Id. at 3506.
Croman’s price therefore exceeded PHT’s price by approximately 4%, or $2.3
million.

      On July 6, 2006, the Navy informed offerors that Croman was the apparently
successful offeror on the contract. Id. at 3525-30. One week later, PHT filed a


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         / The Navy also assigned a Past Performance rating to each proposal. Because those
ratings are not challenged by PHT, they will not be summarized here.

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size protest with the SBA, arguing that Croman was ineligible for the small
business set-aside award. Id. at 3543. Plaintiff claimed that Croman was
improperly affiliated with its proposed subcontractor, Computer Sciences
Corporation (CSC), a large business. PHT contended, specifically, that Croman
planned to rely on CSC to perform a large percentage of the work required by the
Solicitation, in violation of 13 C.F.R. § 121.103(h)(4) (2006), a regulation known
as the ostensible subcontractor rule.7 AR at 3543-51. The SBA rejected PHT’s
argument regarding Croman’s status as a small business. Id. at 3691. In a Size
Determination issued on July 31, 2006, the SBA explained that Croman was
eligible for a small business set-aside award because CSC would be “performing
on CLINs which are valued at only 3% of the contract amount.” Id. at 3695 (Size
Determination File Number 6-2006-058).

      On August 4, 2006, the Navy awarded Contract No. N00019-06-D-0027 (the
Contract) to Croman. Id. at 3702. In a debriefing on August 10, 2006, the Navy
advised plaintiff that, although PHT had submitted the lowest price during the
second round of submissions, it now stood second to Croman in non-price proposal
evaluations, and that the government had decided to pay a small price premium to
secure the better value offered by Croman. Id. at 3715 et seq. Five days later, PHT
protested the award to the GAO. Once again, performance on the contract was
suspended under 31 U.S.C. 3553(d). Id. at 3754. Again, the Navy chose not to

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        / The Code of Federal Regulations provides that

               [a] contractor and its ostensible subcontractor are treated as joint
               venturers, and therefore affiliates, for size determination purposes.
               An ostensible subcontractor is a subcontractor that performs
               primary and vital requirements of a contract, or of an order under a
               multiple award schedule contract, or a subcontractor upon which
               the prime contractor is unusually reliant. All aspects of the
               relationship between the prime and subcontractor are considered,
               including, but not limited to, the terms of the proposal (such as
               contract management, technical responsibilities, and the
               percentage of subcontracted work), agreements between the prime
               and subcontractor (such as bonding assistance or the teaming
               agreement), and whether the subcontractor is the incumbent
               contractor and is ineligible to submit a proposal because it exceeds
               the applicable size standard for that solicitation.

13 C.F.R. § 121.103(h)(4) (2006).

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override the suspension based on urgent and compelling circumstances. On
August 29, 2006, PHT withdrew its GAO protest and filed suit in the Court of
Federal Claims.

                                      DISCUSSION

I.     Jurisdiction

       As stated, this is a post-award bid protest action. There is no question that
the Tucker Act provides the United States Court of Federal Claims with bid protest
jurisdiction in actions filed after December 31, 1996. 28 U.S.C. § 1491(b)(1)-(4)
(2000); Asia Pac. Airlines v. United States, 68 Fed. Cl. 8, 16 (2005); ViroMed
Labs., Inc. v. United States, 62 Fed. Cl. 206, 211 (2004); see also Am. Fed’n of
Gov’t Employees, AFL-CIO v. United States, 258 F.3d 1294, 1300 (Fed. Cir.
2001); Hunt Bldg. Co. v. United States, 61 Fed. Cl. 243, 268-69 (2004). The
statute explicitly provides that this court “shall have jurisdiction to render
judgment on an action by an interested party objecting to a solicitation by a Federal
agency for bids or proposals for a proposed contract or to a proposed award or the
award of a contract or any alleged violation of statute or regulation in connection
with a procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1); see Asia
Pacific, 68 Fed. Cl. at 16; Hunt Building, 61 Fed. Cl. at 269 (both quoting 28
U.S.C. § 1491(b)(1)). “This statute further provides that the Court of Federal
Claims ‘shall have jurisdiction to entertain such an action without regard to
whether suit is instituted before or after the contract is awarded.’” Asia Pacific, 68
Fed. Cl. at 16 (quoting 28 U.S.C. § 1491(b)(1)). Accordingly, this court has
subject matter jurisdiction to adjudicate PHT’s post-award bid protest. See id. at
16-17.

II.    Standard of Review

       A.      Judgment on the Administrative Record

      PHT, Croman, and the United States have filed cross-motions for judgment
on the administrative record, under RCFC 52.1.8 The standard for evaluating such

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        / The rule governing the procedure for motions for judgment on the administrative
record was formerly numbered RCFC 56.1. On June 20, 2006, the rule was renamed, and
                                                                                 (continued...)

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motions is similar, but not identical, to that used to decide a motion for summary
judgment under RCFC 56. Info. Sciences Corp. v. United States, 73 Fed. Cl. 70,
97-98 (2006) (citing Bannum, Inc. v. United States, 404 F.3d 1346, 1355 (Fed. Cir.
2005)). It is beyond cavil that, on a traditional motion for summary judgment, the
court must inquire “whether the moving party has proven its case as a matter of
fact and law or whether a genuine issue of material fact precludes judgment.” Id.
(citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)). A Rule
52.1 motion, by contrast, calls for a more narrow review of whether, given the
disputed and undisputed facts, the plaintiff has met its burden to show that a
challenged decision was not in accordance with the law. Id.; see also Bannum, 404
F.3d at 1357. “[T]wo principles commonly associated with summary judgment
motions– that the existence of a genuine issue of material fact precludes a grant of
summary judgment and that inferences be weighed in favor of the non-moving
party . . . are inapplicable to a motion for judgment on the administrative record . . .
.” Int’l Outsourcing Servs., L.L.C. v. United States, 69 Fed. Cl. 40, 45 (2005)
(citing Bannum, 404 F.3d at 1356-57). In other words, under Rule 52.1,

               the existence of a fact question neither precludes the granting of a
               motion for judgment nor requires this court to conduct a full blown
               evidentiary proceeding. Rather, such fact questions must be
               resolved by reference to the administrative record, as properly
               supplemented – in the words of the Federal Circuit, “as if [this
               court] were conducting a trial on [that] record.”

Id. at 45-46 (quoting Bannum, 404 F.3d at 1357).

       B.      Bid Protest Review

       It is well settled that “this court’s review of an agency’s decision regarding a
contractual solicitation or award takes place in accord with standards set forth in
the Administrative Procedure Act, 5 U.S.C. § 706.” Asia Pacific, 68 Fed. Cl. at 19;
ViroMed Laboratories, 62 Fed. Cl. at 211; see also 28 U.S.C. § 1491(b)(4) (2000)
(“In any action under this [bid protest] subsection, the courts shall review the
agency’s decision pursuant to the standards set forth in section 706 of title 5.”);


       8
        (...continued)
relocated to RCFC 52.1. The substantive nature of the review of such motions was not affected
by these changes. See Info. Sciences Corp. v. United States, 73 Fed. Cl. 70, 97 n.29 (2006).

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Bannum, 404 F.3d at 1351 (stating that “the trial court [first] determines whether . .
. the government’s conduct fails the APA review under 5 U.S.C. § 706(2)(A)”).
Accordingly, the court must determine whether the contracting agency’s action
was “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
with law.” See 5 U.S.C. § 706(2)(A) (2000); Bannum, 404 F.3d at 1351; Advanced
Data Concepts, Inc. v. United States, 216 F.3d 1054, 1057 (Fed. Cir. 2000). The
plaintiff bears the burden of proving the arbitrary and capricious nature of the
award, by a preponderance of the evidence. See Grumman Data Sys. Corp. v.
Dalton, 88 F.3d 990, 995 (Fed. Cir. 1996); Hunt Building, 61 Fed. Cl. at 269.
“Under an arbitrary or capricious standard, the reviewing court should not
substitute its judgment for that of the agency, but should review the basis for the
agency decision to determine if it was legally permissible, reasonable, and
supported by the facts.” ViroMed Laboratories, 62 Fed. Cl. at 212 (citing Motor
Vehicle Mfrs. Ass’n of the United States v. State Farm Mut. Auto. Ins. Co., 463
U.S. 29, 43 (1983)). The court should overturn the challenged decision only if “(1)
the procurement official’s decision lacked a rational basis; or (2) the procurement
procedure involved a violation of regulation or procedure.’” Banknote Corp. of
Am. v. United States, 365 F.3d 1345, 1351 (Fed. Cir. 2004); Asia Pacific, 68 Fed.
Cl. at 19 (both quoting Impresa Construzioni Geom. Domenico Garufi v. United
States, 238 F.3d 1324, 1332 (Fed. Cir. 2001)); see also Hunt Building, 61 Fed. Cl.
at 269. Essentially,

             [w]hen a challenge is brought on the first ground, the test is
             whether the contracting agency provided a coherent and reasonable
             explanation of its exercise of discretion, and the disappointed
             bidder bears a heavy burden of showing that the award decision
             had no rational basis. When a challenge is brought on the second
             ground, the disappointed bidder must show a clear and prejudicial
             violation of applicable statutes or regulations.

Banknote, 365 F.3d at 1351 (internal quotations and citations omitted).

       If it is determined that a contract was awarded in violation of APA
standards, the court must then evaluate whether the plaintiff, as an unsuccessful
bidder, was prejudiced significantly by the government’s conduct. Bannum, 404
F.3d at 1353. To do so, the court is “required to make factual findings . . . from the
record evidence as if it were conducting a trial on the record.” Id. at 1357.
Plaintiff again bears the burden of proof, and must “show that there was a
substantial chance [plaintiff] would have received the contract award but for the

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[government’s] errors . . . .” Id. at 1358 (internal quotations omitted).

      C.     Standing

        Standing to protest a contract award in this court is “limited to actual or
prospective bidders or offerors whose direct economic interest would be affected
by the award of the contract . . . .” Banknote, 365 F.3d at 1352 (quoting Am. Fed’n
of Gov’t Employees, AFL-CIO, 258 F.3d at1302). Thus, in order to prevail in a bid
protest, a claimant must provide evidence of “not only a significant error in the
procurement process, but also that the error prejudiced it.” Galen Med. Assocs.,
Inc. v. United States, 369 F.3d 1324, 1330 (Fed. Cir. 2004) (quoting Data Gen.
Corp. v. Johnson, 78 F.3d 1556, 1562 (Fed. Cir. 1996)). This requires evidence of
a “substantial chance” that the protestor would have received the contract award,
but for the alleged error or errors. Id. at 1331; see also Emery Worldwide Airlines,
Inc. v. United States, 264 F.3d 1071, 1086 (Fed. Cir. 2001) (“To establish
prejudice in an action involving an alleged statutory or regulatory violation, a
protester must show that absent the error, there was a substantial chance it would
have received the contract award.”) (internal quotations omitted)). The law is clear
that issues of harm and prejudice must be examined at the outset of any bid protest
litigation, as they are essential to the plaintiff’s standing, and thus, the court’s
jurisdiction. See Info. Tech. & Applications Corp. v. United States, 316 F.3d 1312,
1319 (Fed. Cir. 2003) (holding that an inquiry into the prejudice suffered by a
protestor, as a result of an error in the procurement process, must be examined
prior to a review of the merits of its protest).

       Here, there is no question that PHT’s proposal was deemed to be in the
competitive range, and that plaintiff’s direct economic interest will be affected by
the award to Croman. Indeed, because PHT received the second most favorable
rating of all offerors on the challenged contract, and proposed the lowest price,
plaintiff had a substantial chance to win the award, but for the alleged errors in the
procurement process. For these reasons, PHT has standing to lodge this protest as
a disappointed bidder on the Navy contract. See Information Sciences, 73 Fed. Cl.
at 94 (explaining that because the plaintiff was an interested party that had
submitted a proposal determined to be within the competitive range, and because it
had a substantial chance of being awarded the contract but for the alleged errors, it
had standing to pursue a bid protest); Chapman Law Firm v. United States, 63 Fed.
Cl. 519, 523 (2005); Hunt Building, 61 Fed. Cl. at 270-71.


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III.   Analysis

       In this protest, PHT advances two overarching contentions in its effort to
show that award to Croman must be overturned. First, plaintiff contends that
intervenor does not have previous work experience which is similar to that sought
by the Navy, and so, the award to Croman violates a federal statute, its
implementing regulation, and the terms of the Solicitation. Second, PHT argues
that the agency was unreasonable in its evaluation of proposals, and that its best
value determination was therefore flawed.

       A.   Is Award to Croman Contrary to Law?

            1.     Has Plaintiff Lodged an Untimely Challenge to the Terms of
                   the Solicitation?

       The parties agree, and indeed, there can be no doubt, that the Solicitation
required offerors to hold AMC certification. There is likewise no question,
however, that the disputed Solicitation did not include an explicit deadline by
which offerors were required to obtain that certification. Plaintiff argues that,
given the absence of such a deadline, the only reasonable way to interpret the
Solicitation was to conclude that offerors were required to obtain AMC
certification within a reasonable amount of time, for example, the sixty days
allotted for the awardee to phase into full performance readiness. In fact, PHT
argues that certification within a reasonable time is mandated by federal law.
Plaintiff claims that, by awarding the contract to Croman, a company that could not
obtain certification within a reasonable time, the Navy violated the terms of the
Solicitation as well as the statute and regulation which set the parameters for AMC
approval. Croman and the government disagree. Both contend that, given the
Navy’s deletion of a certification deadline from the Solicitation, it was clear that
the agency reserved sole discretion to itself to determine whether an offeror’s
certification would arrive in a timely manner. Thus, defendants contend, the award
to Croman was reasonable and appropriate regardless of its AMC status.

       Before arguing the merits of these claims, however, defendants unite in
contending that PHT’s claims regarding AMC certification are untimely challenges
to the facial terms of the Solicitation. The United States interprets PHT’s claim as
a contention that the Solicitation term which permitted submission of a Form 207,
in lieu of a current AMC certificate, was impermissible because it made it possible

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for an offeror to win the contract despite an inability to transport DOD passengers.
Defendant argues that this aspect of the Solicitation was obvious, and that under
the “patent ambiguity rule,” PHT should have presented its challenge prior to
award if plaintiff believed it contrary to law. See Def.’s Mot. at 8 (citing Blue &
Gold Fleet, LP v. United States, 70 Fed. Cl. 487, 513 (2006)). Similarly, Croman
contends that PHT knew the Solicitation permitted award to uncertified offerors,
and set no deadline for obtaining certification. Intervenor insists that it was clear
that “[b]y not specifying a precise time period and eliminating the requirement
previously mandating approval within 60 days after contract award,” the Navy
“reserved to itself the discretion to judge whether any needed certification would
be obtained in a timely manner.” Int.’s Reply at 3 (internal quotations omitted).
Croman argues that the import of these terms was clear, and that to interpret the
Solicitation to include a specific deadline for certification would be unreasonable.
According to Croman,

             the core contention PHT seeks to advance is that no offeror, other
             than one already holding AMC certification was eligible for award.
             This view is directly counter to the terms of the RFP and could
             have been brought long ago. The same is true of PHT’s assertion
             that some defined time period for obtaining certification was
             required.

Id. at 4. Finally, as a matter of policy, intervenor states that if the certification
process “dragged on interminably, at no fault of the contractor, it would be absurd
for the Navy to lose the benefits of the best proposal because of some arbitrary
deadline. Alternatively, if a hold-up in certification threatened mission
performance, the Navy could simply terminate the contract for convenience and
seek alternatives.” Id. at 3.

       In support of their contentions, defendants cite the settled GAO rule that
challenges to the terms of a solicitation must be lodged before proposal
submission. Defendants note that this rule is often invoked, in some form, by the
Court of Federal Claims. Int.’s Mot. at 13-14; Def.’s Reply at 3; Int.’s Reply at 4
(citing Bannum, Inc. v. United States, 60 Fed. Cl. 718 (2004); ABF Freight Sys.,
Inc. v. United States, 55 Fed. Cl. 392, 399 (2003); N.C. Div. of Servs. for the Blind
v. United States, 53 Fed. Cl. 147, 165 (2002)). In fact, the United States argues
that the GAO timeliness rule has been applied by the court to protests challenging
the facial terms of a solicitation, and to those alleging that a solicitation has


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erroneously applied a statute or regulation. And as a matter of policy, the
government argues that plaintiff should not be permitted to protest now, when its
suit will “only interfere with the agency’s ability to evaluate the contracts under the
terms of the solicitation.” Def.’s Reply at 4. Defendant insists that the protest is
inappropriate because plaintiff has already protested the AMC provisions of the
Solicitation once and “had every reason to have this claim considered at a time
when the solicitation could have been efficiently changed if the Navy or the GAO
had found that appropriate.” Id. at 5.

       In response, PHT asserts that its claim does not challenge the terms of the
Solicitation, but instead, the Navy’s interpretation and application of that
document. Pl.’s Resp. at 4-6 (citing Overstreet Elec. Co. v. United States, 59 Fed.
Cl. 99, 112-117 (2003)). In fact, plaintiff contends that a challenge to the terms of
the Solicitation which purport to permit contract performance without an AMC
certificate would be unnecessary. PHT explains that, “since twelve months of
equivalent service in DOD transport are required by federal statute, contrary terms
in the Solicitation are not binding or relevant.” Id. at 5. Plaintiff concedes that the
Solicitation permitted offerors to receive AMC certification after award. PHT
contends, however, that this provision was temporally limited by the fact that
contract performance was to “‘commence on the day of the contract award and . . .
continue for a twelve month period.’” Pl.’s Mot. at 18 (quoting AR at 1712). PHT
insists that Croman’s proposal violated the latter requirement, inasmuch as
Croman’s lack of current certification demonstrated that “Croman could not
perform all aspects of the contract as of the day of the contract award . . . .” Pl.’s
Resp. at 13-14. According to plaintiff,

             [s]ince the contract is for a one year term and contract performance
             commences on the date of award, the time for reasonable receipt of
             the AMC approval should have been measured in days or weeks,
             not months. The Navy could not award to an offeror whose AMC
             approval cannot be granted until months after award. This is
             because that offeror would not be able to perform the PWS
             requirements during the contract until the approval is received,
             which in Croman’s case would be June 2007 at the earliest.

Pl.’s Mot. at 18 (emphasis in original). PHT states that it could not have known,
from the text of the Solicitation, “that the Navy would interpret it to obviate the
requirement for AMC approval during the term of the Contract . . . .” Pl.’s Resp. at
7. Thus, plaintiff contends that, at most, the Solicitation contained a latent

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ambiguity which it was not obligated to challenge before award. Finally, plaintiff
points out that the GAO timeliness rule is applied sparingly in the Court of Federal
Claims.

        It is well settled that, in protests before the GAO, claims based upon alleged
improprieties in a solicitation which are apparent before the deadline for receipt of
initial proposals must be filed in advance of that deadline. 4 C.F.R. § 21.2(a)(1)
(2006). The Court of Federal Claims has adopted that rule in some circumstances.
See, e.g., ABF Freight System, 55 Fed. Cl. at 399; North Carolina, 53 Fed. Cl. at
165. There is no question, however, that the GAO timeliness rule is not binding on
the court.9 See Consolidated Eng’g Servs., Inc. v. United States, 64 Fed. Cl. 617,
624 (2005); ABF Freight System, 55 Fed. Cl. at 399; Aerolease Long Beach v.
United States, 31 Fed. Cl. 342, 358, aff’d, 39 F.3d 1198 (Fed. Cir. 1994). In
practice, the rule is applied by the Court only in “appropriate circumstances,” in
which, for example, a plaintiff has acted in a manner which would be “disruptive,
unfair to the other offerors [or] would serve to undermine the soundness of the
federal procurement system.” North Carolina, 53 Fed. Cl. at 165 (citing Pardee
Constr. Co., B-256,414, 94-1 CPD ¶ 372, at *4 (June 13, 1994) (unpublished)
(stating that GAO’s “timeliness rules reflect the dual requirements of giving parties
a fair opportunity to present their cases and resolving protests expeditiously
without unduly disrupting or delaying the procurement process”)). The court,
unlike GAO, must apply the rule sparingly, given its tension with Congress’
express grant of jurisdiction to entertain bid protests filed before and after award.
See ABF Freight System, 55 Fed. Cl. at 399 (citing 28 U.S.C. § 1491(b)).

       In this case, the court agrees with plaintiff that this AMC certification
dispute does not merely challenge the facial terms of the Solicitation, but instead,
questions the manner in which the Navy applied arguably ambiguous provisions of
that document to the proposals it received. PHT does not argue that the absence of
a certification deadline was per se improper, but rather, that the Solicitation
included an implicit deadline by virtue of a complicated interplay in its terms. See

       9
         / Similarly, “[w]hile [GAO] decisions are not binding on this court, this court accords
deference to the Comptroller General decisions in recognition of GAO’s expertise and role in the
resolution of contested procurement decisions.” N.C. Div. of Servs. for the Blind v. United
States, 53 Fed. Cl 147, 165 n.13 (2002) (citing Bean Dredging Corp. v. United States, 22 Cl. Ct.
519, 522 (1991)).


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Overstreet Electric, 59 Fed. Cl. at 116 (stating that “[w]hat we have here is not a
disagreement over the fairness of terms of a solicitation . . . or a failure to protest
recognized ambiguities in terms . . . but a disagreement on how the standards of the
solicitation were interpreted and applied . . .”). In other words, this protest centers
on the parties’ competing interpretations of the Solicitation.

       That conclusion does not, however, end the court’s inquiry into the
timeliness of PHT’s claim. As defendants have correctly pointed out, any time a
conflict or ambiguity in the terms of a solicitation exists that is so obvious as to be
“patent,” an offeror is obliged to challenge it before contract award. For that
reason, any time an ambiguity in a solicitation is alleged, “the issue becomes
whether the disputed provisions were patently ambiguous . . . .” Maint. Eng’rs,
Inc. v. United States, 21 Cl. Ct. 553, 559 (1990). There is no question that the
construction of the terms of a government solicitation essentially involves contract
interpretation, and presents questions of law to be answered by the court.
Overstreet Electric, 59 Fed. Cl. at 112 (“The interpretation of a solicitation is not a
matter of post hoc subjective opinion but is an objective question of law.”);
Banknote Corp. of Am. v. United States, 56 Fed. Cl. 377, 389 (2003), aff’d, 365
F.3d 1345 (Fed. Cir. 2004); see also Grumman Data Systems, 88 F.3d at 997.
Whether the terms of a solicitation are ambiguous is also a question of law.
Overstreet Electric, 59 Fed. Cl. at 112.

       The principles governing contract interpretation apply with equal force to
the interpretation of government issued solicitations. See Banknote, 365 F.3d at
1353 n.4 (citing Grumman Data Systems, 88 F.3d at 997-98). Accordingly, the
court’s starting point in interpreting a solicitation is the plain language of that
document. Id. at 1353. If the document’s language is clear and unambiguous, the
court must give the language its “plain and ordinary meaning,” and may not rely on
extrinsic evidence to aid in its interpretation. Id.; Overstreet Electric, 59 Fed. Cl.
at 112. The court “must consider the solicitation as a whole, interpreting it in a
manner that harmonizes and gives reasonable meaning to all of its provisions.”
Banknote, 365 F.3d at 1353; see also Overstreet Electric, 59 Fed. Cl. at 112.

       If a solicitation is ambiguous, in that “differing constructions of the
[solicitation’s] plain meaning are plausible, the court must inquire whether such a
discrepancy would be apparent to a reasonably prudent contractor.” Maintenance
Engineers, 21 Cl. Ct. at 559 (citing John G. Grimberg Co. v. United States, 7 Cl.
Ct. 452, 456 (1985)). Such an inquiry is critical because, if the terms of a

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solicitation are patently ambiguous, the non-drafting party has a duty to inquire as
to their meaning. Id. (citing Fort Vancouver Plywood Co. v. United States, 860
F.2d 409, 414 (Fed. Cir. 1988)). In other words, contractors must inquire only as
to major omissions, obvious discrepancies, or manifest conflicts in a solicitation’s
provisions. Id.; see also WPC Enter., Inc. v. United States, 323 F.2d 874, 877 (Ct.
Cl. 1963). A “patent ambiguity,” by definition, is one which is “‘so glaring as to
raise a duty to inquire.’” Fort Vancouver Plywood, 860 F.2d at 414 (quoting
United States v. Turner Constr. Co., 819 F.2d 283, 286 (Fed. Cir. 1987)) (emphasis
in original); Maintenance Engineers, 21 Cl. Ct. at 560. Further, “[i]t is not the
contractor’s actual knowledge, but the obviousness of the inconsistency that
imposes the duty to inquire.” Maintenance Engineers, 21 Cl. Ct. at 560 (citing
Chris Berg, Inc. v. United States, 455 F.2d 1037, 1045 (Ct. Cl. 1972)).

        Here, each party has presented a reasonable interpretation of the Solicitation.
Defendants are certainly correct that the Solicitation set no specific deadline by
which offerors were required to secure AMC certification. Because the plain
language of the Solicitation presents the starting point for the court’s inquiry, that
fact is significant. Banknote, 365 F.3d at 1353. Further, as Croman has
emphasized, the fact that the Navy specifically deleted the certification deadline
from the original version of the Solicitation is evidence of the Navy’s intent to
allow itself maximum leeway with regard to the timeliness of certification. On the
other hand, the Solicitation mandated that performance was to begin upon award,
and the Contract Line Items included potential passenger transport work, for which
AMC certification is undoubtedly required. See AR at 1694-98, 1712. When those
terms are considered in conjunction with one another, the Solicitation arguably
appears to include an implied deadline for receipt of AMC certification. A
reasonable inference may be drawn, from the Solicitation as a whole, that offerors
were required to become certified by the time of award or a reasonable time
thereafter. See id. That interpretation is further bolstered by the fact that it avoids
any conflict between the terms of the Solicitation and the relevant statute and
regulation.

       In the court’s view, the fact that two reasonable and competing
interpretations of the Solicitation arise from that document’s terms shows that the
interpretation favored by plaintiff was not “so glaring as to raise a duty to inquire.”
Fort Vancouver Plywood, 860 F.2d at 414. Further, there is no evidence that PHT
had outside knowledge of the Navy’s interpretation before award. In that regard,
the facts presented are easily distinguished from those considered in Blue & Gold

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Fleet, 70 Fed. Cl. at 512. In Blue & Gold Fleet, the plaintiff filed a pre-award
protest of a concession contract issued by the National Park Service, arguing that
the agency had failed to recognize that the Service Contract Act applied to the
work being procured. Id. The plaintiff claimed that, because the agency had not
required proposals to comply with that statute, the proposed awardee’s proposal
included wage rates which would violate the Act’s provisions. The government
retorted that the Act did not apply to the work being procured. The defendant
pointed out that the Department of Labor had promulgated a regulation which
exempted the relevant category of contracts from the provisions of the Act, and
that the procuring agency had a long-standing policy, embodied in its own
regulations, of not applying the Act to its concession contracts. Id. at 512-13.
When plaintiff argued that the challenged contract fell outside of those exceptions,
the court noted that the plaintiff had specific previous knowledge of the agency’s
policy, for three reasons. Id. at 513. First, the plaintiff’s existing concession
contract with the Park Service did not incorporate terms of the Service Contract
Act. In addition, the agency had included a copy of applicable regulations in its
prospectus, including its own regulation which exempted its concession contracts
from the Act. Finally, other regulations mandated that any prospectus applying the
Act include applicable wage information, and the Park Service’s prospectus did not
include wage information, signifying that it would not apply the Act to the
procurement. Id. The court found that, despite its awareness that the Park Service
would not apply the Service Contract Act to the procurement, the plaintiff had
improperly waited to protest until after another offeror’s proposal had been
selected. Id. The court faulted the plaintiff for not seeking clarification before
proposal submission, and dismissed its claim as time-barred. Id. at 513-14.

       Here, unlike in Blue & Gold Fleet, there is no evidence that PHT knew, to
any degree of certainty, that the Navy would interpret the Solicitation to permit an
award to offerors that could not obtain AMC certification at, or shortly after,
award. As explained above, plaintiff has presented a reasonable alternative
interpretation of the Solicitation which indicates the opposite. Moreover,
defendants have not shown that plaintiff had previous experience with the Navy to
which knowledge of the agency’s interpretation could be attributed. Finally, the
deletion of a specific certification deadline from the Solicitation would not have
necessarily alerted PHT to the agency’s intended interpretation. Cf. Blue & Gold
Fleet, 70 Fed. Cl. at 512-14. For these reasons, the court disagrees with
defendants’ contention that PHT should have anticipated the Navy’s interpretation
of the Solicitation, and challenged it in advance of proposal submission.

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       In sum, the parties disagree on the manner in which the Solicitation was to
be interpreted and applied, rather than the terms of the Solicitation themselves.
The conflict in the Solicitation’s terms created, at most, a latent ambiguity which
PHT was not required to challenge prior to award. Accordingly, the GAO
timeliness rule and the patent ambiguity doctrine present no impediment to PHT’s
post-award protest.

               2.     The Merits of PHT’s Contentions

       Plaintiff argues that the award to Croman violated 10 U.S.C. § 2640 (2000),
and its implementing regulation, 32 C.F.R. § 861 (2006). That statute, titled
“Charter air transportation of members of the armed forces,” provides, in relevant
part, as follows:

               (a) Requirements. - - (1) The Secretary of Defense may not enter
               into a contract with an air carrier for the charter air transportation
               of members of the armed forces unless the air carrier - - . . .

               (B) has at least 12 months of experience operating services in air
               transportation that are substantially equivalent to the service
               sought by the Department of Defense . . . .

10 U.S.C. § 2640(a)(B). Part 861 of title 32 of the Code of Federal Regulations, in
turn, sets forth the criteria by which the DOD will determine whether the twelve
months of experience proffered by a contractor are adequate to meet the statutory
requirement. The regulation reserves sole discretion to the DOD to assess an air
carrier’s compliance with the statute. The regulation states, in relevant part, as
follows:

               (e) Evaluation requirements. The air carrier requirements stated in
               this part provide the criteria against which would-be DOD . . . air
               carrier contractors, as well as air carriers providing services on
               behalf of DOD, may be subjectively evaluated by DOD. These
               requirements are neither all-inclusive nor inflexible in nature.
               They are not replacements for the certification criteria and other
               regulations established by the CAA.10 Rather, these requirements

       10
         / “CAA” is an abbreviation for the term “Civil Aviation Authority.” According to the
Definitions section of 32 C.F.R. § 861, “[t]he CAA refers to the organization within a country
                                                                                    (continued...)

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                 complement CAA certification criteria and regulations and
                 describe the enhanced level of service required by DOD. The
                 relative weight accorded these requirements in a given case, as
                 well as the determination of whether an air carrier meets or
                 exceeds them, is a matter within the sole discretion of the DOD Air
                 Carrier Survey and Analysis Office and the CARB, subject to the
                 statutory minimums provided in the reference in § 861.1(a).11
                        (1) Quality and safety requirements--prior experience. U.S.
                        and foreign air carriers applying for DOD approval in order
                        to conduct air transportation services for or on behalf of
                        DOD under a contract or agreement with DOD . . . are
                        required to possess 12 months of continuous service
                        equivalent to the service sought by DOD. In applying this
                        requirement, the following guidance will be used by DOD authorities:


       10
          (...continued)
that has the authority and responsibility to regulate civil aviation. The term CAA is used
throughout this part since these requirements are applicable to both U.S. and foreign carriers
doing business with DOD. The term CAA thus includes the U.S. Federal Aviation
Administration (FAA).” 32 C.F.R. § 861.3(c) (2006).

       11
            / The Commercial Airlift Review Board, or “CARB”

                 provides a multifunctional review of the efforts of the DOD Air
                 Carrier Survey and Analysis Office and is the first level decision
                 authority in DOD on quality and safety issues relating to air
                 carriers. Responsibilities include, but are not limited to: the
                 review and approval or disapproval of air carriers seeking initial
                 approval to provide air transportation service to DOD; the review
                 and approval or disapproval of air carriers in the program that do
                 not meet DOD quality and safety requirements; the review and
                 approval or disapproval of air carriers in the program seeking to
                 provide a class of service different from that which they are
                 currently approved; taking action to suspend, reinstate, or place
                 into temporary nonuse or extended temporary nonuse, DOD
                 approved carriers; taking action, on an as needed basis, to review,
                 suspend, reinstate, or place into temporary nonuse or extended
                 temporary nonuse, an air carrier providing operational support
                 services to DOD; and, referring with recommendations, issues
                 requiring resolution or other action by higher authority.

32 C.F.R. § 861.5(e) (2006); see also 32 C.F.R. § 861.2 (2006).

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                (i) “12 months” refers to the 12 calendar months
                immediately preceding the request for DOD approval.

                (ii) “Continuous” service means the carrier must
                have performed revenue-generating services of the
                nature for which DOD approval is sought, as an
                FAA Part 121, 125, 127, or 135 (14 CFR 121, 125,
                127, or 135) air carrier . . . on a recurring,
                substantially uninterrupted basis. The services must
                have occurred with such frequency and regularity as
                to clearly demonstrate the carrier’s ability to
                perform and support sustained, safe, reliable, and
                regular services of the type DOD is seeking.
                Weekly flight activity is normally considered
                continuous, while sporadic or seasonal operations
                (if such operations are the only operations
                conducted by the carrier) may not suffice to
                establish a carrier’s ability to perform and support
                services in the sustained, safe, reliable, and regular
                manner required by DOD. The ability of a carrier
                to perform services of the type sought by DOD may
                be called into question if there have been lengthy
                periods of time during the qualifying period in
                which the carrier has not operated such services.
                Consequently, any cessation, or nonperformance of
                the type of service for which approval is sought
                may, if it exceeds 30 days in length during the
                qualifying period and depending on the underlying
                factual circumstances, necessitate “restarting” the
                12-month continuous service period needed to
                obtain DOD approval.

                (iii) “Equivalent to the services sought by DOD”
                means service offered to qualify for DOD approval
                must be substantially equivalent to the type of
                service sought by DOD. The prior experience must
                be equivalent in difficulty and complexity with
                regard to the distances flown, weather systems
                encountered, international and national procedures,
                the same or similar aircraft, schedule demands,
                aircrew experience, number of passengers handled,
                frequency of operations, and management required.

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                There is not a set formula for determining whether a
                particular type of service qualifies. The
                performance of cargo services is not considered to
                be “substantially equivalent” to the performance of
                passenger services, and may not be used to meet the
                12 continuous months requirement for passenger
                services. However, when a carrier already
                providing cargo services to DOD applies to carry
                passengers, the CARB may consider the carrier’s
                cargo performance and experience in assessing
                whether a carrier is qualified to carry passengers on
                a specific type or category of aircraft, over certain
                routes or stage lengths, or under differing air traffic
                control, weather, or other conditions. The
                following examples are illustrative and not intended
                to reflect or predict CARB action in any given case:

                Example 1: Coyote Air has operated commercial
                passenger commuter operations in the U.S. for a
                number of years flying a variety of twin-engine
                turboprop aircraft. They have also been a DOD-
                approved cargo carrier, providing international
                cargo services using DC-10 freighter aircraft.
                Coyote Air purchases a passenger version DC-10,
                and seeks DOD approval to provide international
                passenger service for DOD. The CARB may decide
                that although Coyote Air has provided passenger
                services for 12 continuous months, those services
                are not substantially equivalent to those being
                sought by DOD. While the carrier may have
                considerable operational experience with the DC-
                10, its commuter passenger operations are not
                substantially equivalent to the service now
                proposed--international passenger services on large
                jet aircraft.

                Example 2: Acme Air has been a DOD-approved
                cargo carrier for several years, operating domestic
                and international missions with MD-11 freighter
                aircraft. At the same time, Acme has been
                performing commercial international passenger
                services with B-757 aircraft. Acme Air purchases a
                MD-11 passenger aircraft and applies to perform


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                            passenger services for DOD using the MD-11.
                            Assuming Acme has performed B-757 passenger
                            service for 12 continuous months immediately
                            preceding its application, the CARB may consider
                            these passenger services substantially equivalent to
                            those proposed since both involve the operation of
                            large multi-engine aircraft in an international
                            environment. The CARB may also consider
                            Acme’s operational history with its MD-11
                            freighter aircraft in determining whether the carrier
                            is competent to provide MD-11 passenger service in
                            the same environment.

32 C.F.R. § 861.4(e). As indicated in the parties’ briefings, the DOD’s
Commercial Airlift Division Air Mobility Command (AMC) is currently
responsible for assessing the ability of commercial air carriers to qualify for
certification under 32 C.F.R. § 861.4(e). The manner in which the AMC does so
was recently explained in the Federal Register:

             The Department of Defense Commercial Airlift Division (HQ
             AMC/A34B) is responsible for the assessment of a commercial air
             carrier’s ability to provide quality, safe, and reliable airlift to the
             Department of Defense. HQ AMC/A34B uses Air Mobility
             Command (AMC) Form 207 to acquire information needed to
             make a determination if the commercial carriers can support the
             Department of Defense. Information is evaluated and used in the
             approval process. Failure to respond renders the commercial air
             carrier ineligible for contracts to provide air carriers service to the
             Department of Defense.

71 Fed. Reg. 12685-01 (March 13, 2006).

                    a.      Does 10 U.S.C. § 2640 Apply to the Contract?

        Although defendants have agreed, from the outset of this protest, that 32
C.F.R. § 861 applies to the contract at issue, they argue that 10 U.S.C. § 2640 is
inapplicable to the current dispute. The starting point in determining whether the
statute applies to this procurement is, of course, the plain language of the statute
itself. Lamie v. United States Tr., 540 U.S. 526, 534 (2004) (stating that the
“starting point in discerning congressional intent is the existing statutory text”).
By its own terms, 10 U.S.C. § 2640(a) applies to all contracts which call for “air

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transportation.” Under section (j) of the statute, the term “air transportation” is to
be ascribed the meaning included in 49 U.S.C. § 40102(a) (2000). See 10 U.S.C. §
2640(j)(1). Section 40102(a), in turn, defines the term “air transportation” as
“foreign air transportation, interstate air transportation, or the transportation of
mail by aircraft.” 49 U.S.C. § 40102(a)(5).

      Here, to show that the disputed statute does apply to the Solicitation and that
the award to Croman falls within the ambit of “air transportation,” PHT argues that
the challenged contract calls for “foreign air transportation,” which is

             the transportation of passengers or property by aircraft as a
             common carrier for compensation, or the transportation of mail by
             aircraft, between a place in the United States and a place outside
             the United States when any part of the transportation is by aircraft.

49 U.S.C. § 40102(a)(23). The term “United States,” as it is used in that definition,
means “the States of the United States, the District of Columbia, and the territories
and possessions of the United States, including the territorial sea and the overlying
airspace.” 49 U.S.C. § 40102(a)(46). Because the “territorial sea” is “currently
defined in U.S. and international law to mean a distance from the coast [up to] 12
nautical miles,” plaintiff suggests that the statute “applies to transit between the
shore and any point outside 12 nm[] from shore, which is exactly where the Navy
ships at the Pacific Missile Range Facility will be.” Pl.’s Sur-Reply at 1 (citing 50
U.S.C. § 195 (2000)). In the alternative, PHT asserts that because the contract will
require transport between the Hawaiian islands, it also implicates the “interstate air
transportation” aspect of the term “air transportation.” Id. at 2 (citing Civil
Aeronautics Bd. v. Island Airlines, Inc., 235 F. Supp. 990, 1007-08 (D. Haw.
1964), aff’d, 352 F.2d 735 (9th Cir. 1965) (stating that transport between major
Hawaiian islands is considered to be interstate air transportation)).

       In response, defendants argue that the work included in the challenged
contract does not implicate foreign air transportation. For support, defendants
point to a decision by the United States Court of Appeals for the Second Circuit,
SeaAir NY, Inc. v. City of New York, 250 F.3d 183 (2d Cir. 2001). See Oral Arg.
Tr. at 53. In SeaAir NY, the Second Circuit was called on to interpret a number of
the definitions set forth in Section 40102. The plaintiff in that case, a seaplane
touring company, attempted to show that the flights it regularly conducted
qualified as “interstate air transportation,” because they constituted “transportation

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of passengers or property by aircraft as a common carrier for compensation . . .
between a place in . . . a State, territory, or possession of the United States and a
place in the District of Columbia or another State, territory, or possession of the
United States[.]” Id. at 186 (quoting 49 U.S.C. § 40102(a)(25)). The plaintiff
argued that because its flights originated in New York, flew over the airspace of
New Jersey, and then returned to New York, they fell within the ambit of that
definition. Id. The court disagreed. Focusing on the terms “transportation” and
“between,” the court noted that “transport” is commonly defined as “to carry . . .
from one place to another.” Id. The court then concluded that

             Congress, in devising the language of § 40102(a)(25), used the
             words “transportation” and “between” in their traditional sense of
             movement from one place to another, and intended that the
             movement be from the earth of one state to the earth, not the
             airspace, of another.

Id. at 187. Because the plaintiff’s charter flights both began and ended in New
York, the court held that they did not constitute interstate air transportation. Id.

         Here, defendants ask the court to adopt the reasoning of SeaAir NY, and to
conclude by analogy that work at the PMRF will not constitute foreign air
transportation. See Oral Arg. Tr. at 53. The United States and Croman point out,
correctly, that flights from the PMRF to ships or other landing platforms beyond
the territorial sea will not comprise movement “from the earth of one” to the “earth
. . . of another.” See SeaAir NY, 250 F.3d at 187. And as a general matter,
defendants argue that the statute is inapplicable because it governs contracts
“solely for the long-distance air transportation of military personnel, not to
incidental passenger transport over the short distances involved at the Pacific
Missile Range Facility . . . involved in this procurement.” Def.’s Reply at 5.

       On this particular point, the court agrees with defendants. In accordance
with the persuasive reasoning of the Second Circuit in SeaAir NY, the contract
awarded to Croman does not call for foreign air transportation, because none of the
flights described in the Solicitation’s Line Items will even potentially be required
to land on the “earth of another” country. See 250 F.3d at 187. However, in the
court’s view, while the Solicitation does not call for foreign air transportation, it
does provide for work which may accurately be described as interstate air
transportation. The definition of the term “interstate air transportation” includes


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“the transportation of passengers or property by aircraft as a common carrier for
compensation . . . between a place in . . . Hawaii and another place in Hawaii
through the airspace over a place outside Hawaii[.]” 49 U.S.C. § 40102(a)(25)(ii).
Here, the Contract Line Items included in the Solicitation clearly anticipate travel
in excess of 12 nautical miles from the shore of Hawaii, and from one location
within the state to another. See AR at 1694-98 (describing transport trips up to 125
miles beyond the shore of Hawaii and “to and from various locations in the
Hawaiian Operating Area”). Because the court must interpret the Solicitation in
context, and in a manner which gives effect to all of its terms, the hypothetical
import of those Line Items must be considered. Banknote, 365 F.3d at 1353.
Together, these terms of the Solicitation create the possibility that the awardee may
be required to conduct flights which originate from one place in Hawaii, travel
through airspace over a place outside Hawaii, beyond the territorial sea, and
terminate in another place within the state.12 Those flights will, of course, travel
from the earth of one part of Hawaii, to the earth of another part of Hawaii, and so,
would meet the definition of “interstate air transportation,” as that term was
interpreted by the Second Circuit. See SeaAir NY, 250 F.3d at 187. Because the
Solicitation terms allow for the provision of interstate air transportation, the court
concludes that 10 U.S.C. § 2640(a) applies to the challenged award.

                      b.      Do These Claims Present Matters of Contract
                              Administration Beyond the Scope of Bid Protest
                              Review?

      Plaintiff argues that the award to Croman violates 10 U.S.C. § 2640 and its
implementing regulation, 32 C.F.R. § 861. As explained in the previous section,
Section 2640 mandates that before DOD may enter into a contract for charter air
transportation, the contract awardee must possess twelve months of experience
providing services which are equivalent to those sought by DOD. See 10 U.S.C. §
2640(a)(B). The cited regulation implements that rule by setting forth the specific


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          / Croman concedes that, under the Solicitation, the awardee may be asked to transport
passengers “to ships outside of Hawaii’s . . . territorial waters zone,” but argues that in such a
case, the one-way “trip could be outside Hawaii waters, in which case it would not be ‘between a
place in . . . Hawaii and another place in Hawaii.’” Int.’s Reply at 11 (quoting 49 U.S.C. §
40102(a)(25)). While the court agrees with that description of a possible scenario, the court
reaches the conclusion that other scenarios as previously described by the court are equally
possible and must be taken into account.

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criteria used to determine whether the experience proffered by a contractor in
satisfaction of that requirement is adequate, and by reserving sole discretion to
decide the issue to the AMC. See 32 C.F.R. § 861.4(e). These two provisions of
law work together to create one legal standard applicable to contracts which
include the transport of DOD passengers. Here, PHT argues that Croman will not
meet the relevant certification criteria, and that AMC’s broad discretion does not
permit it to excuse a violation like the one which will result from the current
award.

       Before addressing the merits of those contentions, Croman argues that
PHT’s allegations regarding compliance with 32 C.F.R. § 861 exceed the scope of
bid protest review. Int.’s Mot. at 15 (citing Precision Standard, Inc. v. United
States, 69 Fed. Cl. 738, 755 (2006); Chapman Law Firm, 63 Fed. Cl. at 529).
Intervenor claims that “[w]hether Croman is ultimately able to obtain AMC
approval following award is a matter of contract administration . . . th[is]
determination[] occur[s] after the procurement is completed and so [is] not
properly addressed through a procurement protest.” Int.’s Reply at 7 (internal
quotations omitted). In fact, Croman maintains that, because the question of
whether Croman will become certified is left to the sole discretion of the AMC, the
court may only determine whether the Navy “‘acted reasonably based on the face
of [an] offeror’s proposal.’” Id. (quoting Precision Standard, 69 Fed. Cl. at 755).
The United States agrees with Croman, and argues that the court may not examine
whether intervenor will, in fact, eventually obtain AMC certification, but instead
may only review the record and determine whether it provided a reasonable basis
for the Navy’s decision at the time of contract award.

       Plaintiff disagrees with the notion that AMC approval is a matter of contract
administration, rather than proposal evaluation. Pl.’s Resp. at 15. PHT points out
that the Navy cannot grant AMC approval as a part of its administration of a
contract, and that the determination of whether a contractor will be certified by that
entity implicates federal statutes and regulations. In addition, plaintiff notes that
the Navy sent Croman an Evaluation Notice regarding its lack of AMC approval
during the proposal evaluation stage. PHT argues that this act by the Navy shows
that certification is a challengeable evaluation issue.

      On this matter, defendants are correct. As Croman correctly points out, a
number of decisions from this court, and from the Comptroller General, have
addressed protests based on awardees’ alleged inability to comply with solicitation

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terms after award. Many of those opinions have concluded that such protests
present issues of contract administration. See Precision Standard, 69 Fed. Cl. at
755 (explaining that an issue related to an awardee’s compliance with a
subcontracting limitation after award was “a matter of contract administration
which the court does not review in the bid protest context”); Chapman Law Firm,
63 Fed. Cl. at 527-28 (same). Accordingly, in the bid protest context, the court
may only examine whether “a proposal, on its face, should lead an agency to the
conclusion that an offeror could not and would not comply with” a solicitation’s
terms. Precision Standard, 69 Fed. Cl. at 755 (internal quotations omitted)
(holding that although the awardee’s actual compliance with a limitation on
subcontracting clause was a matter of contract administration beyond review, “the
case law requires the court to consider whether the contracting officer acted
reasonably based on the face of an offeror’s proposal”); Chapman Law Firm, 63
Fed. Cl. at 527 (“Here, the court examines [the awardee’s] proposal to determine
whether it complied with the limitation on subcontracting requirement.”). The
court is constrained to such a limited review because “[a]n agency’s judgment
regarding whether [an offeror] will comply with [a contract requirement] involves
a responsibility determination, which is a matter committed to the discretion of the
contracting officer.” Precision Standard, 69 Fed. Cl. at 755 (citing Chapman Law
Firm, 63 Fed. Cl. at 527). As the Comptroller General has explained, however,
that facial review is critical:

             where a proposal, on its face, should lead an agency to the
             conclusion that an offeror could not and would not comply with [a
             contract requirement], we have considered this to be a matter of
             the proposal’s technical acceptability; a proposal that fails to
             conform to a material term and condition of the solicitation . . . is
             unacceptable and may not form the basis for an award.

Coffman Specialties, Inc., B-284546, B-284546.2, 2000 WL 572693, at *4 (Comp.
Gen. May 10, 2000); see Ecompex, Inc., B-292865.4, B-292865.5, B-292865.6,
2004 WL 1675519, at *4 (Comp. Gen. June 18, 2004); KIRA, Inc., B-287573.4, B-
287573.5, 2001 WL 1073392, at *3 (Comp. Gen. Aug. 29, 2001).

       As indicated by the parties’ briefing, most of the decisions relevant to this
issue deal with proposed awardees’ compliance with limitation on subcontracting
clauses. This court’s recent decision in SecureNet Co. Ltd. v. United States, 72
Fed. Cl. 800 (2006), however, examined the principle of contract administration in


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factual circumstances similar to those presented here. In the court’s view, the
reasoning and ultimate holding in that case make it even more clear that, here, a
review of the Navy’s determinations regarding AMC certification is permissible.

       In SecureNet, the plaintiff protested a contract award by the Army, arguing
that the agency’s evaluators had failed to consider whether the proposed staffing
levels included in the awardee’s proposal would ultimately comply with the
overtime provisions of the law of South Korea, where the contract was to be
performed. Id. at 809. Based upon its own analysis of the awardee’s proposal, the
plaintiff argued that the awardee could not comply with overtime limitations under
Korean law, and that its “ratio of supervisors to hours required [was] thus an
obvious flaw in its proposal.” Id. (internal quotations omitted). The plaintiff
alleged that the Army had violated its obligation to confirm the awardee’s ability to
comply with Korean law before making the award, even though it acknowledged
that the solicitation’s proposal evaluation criteria did not include such a
requirement. Id. In support, the plaintiff pointed out that both the federal
acquisition regulations, and a provision of the solicitation, instructed the contractor
to comply with Korean law during performance. Plaintiff contended that because
the awardee’s proposal ignored those material terms of the solicitation, it was
ineligible for award.

        The court disagreed with the plaintiff’s contentions. The court noted, as an
initial matter, that the awardee had not taken exception to the solicitation’s
requirement to comply with Korean law, nor to the FAR provision which also
mandated compliance. Instead, the awardee’s proposal had provided all of the
information requested by the solicitation, in an effort to demonstrate its intent to
comply with the relevant provisions. Id. at 810. The court then rejected the
plaintiff’s contention that the Army was obliged to confirm the awardee’s
compliance with Korean law. The court explained that the FAR provision which
mandated compliance with Korean law was “a special contract requirement found
in Section H of the solicitation and describe[d] the obligations of contractors to
comply with Korean labor law” once performance had begun. Id. Further,

             [t]he Clause states that a contractor’s failure to comply with
             Korean labor law “may be deemed a breach or default of the
             contract and evidence of nonresponsibility.” A contractor’s failure
             to remedy the violation may be “grounds for determining the
             contractor to be non-responsible for future Government contracts.”


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                The Clause is future-oriented . . . and any violation of the Clause
                would not be apparent until actual contract performance. Indeed,
                the contract as awarded to [the awardee] fully requires [the
                awardee] to comply with Korean labor law or risk a possible
                default or non-responsibility determination. Thus, as a preliminary
                matter, there would have been no occasion to assess . . .
                compliance with the Clause during the evaluation of proposals.

Id. (internal citations omitted). The court determined that the only factors by
which the Army was required to evaluate proposals were those set forth in Section
M of the solicitation, none of which implicated compliance with Korean law or the
FAR. Id. (stating that “the solicitation does not authorize the TEB to evaluate
offeror’s [sic] ability to comply with the Korean labor laws, even though FAR
Clause 52.0000-4404 and Paragraph C.5.2 of the PWS requires such compliance
during performance”). Accordingly, the court concluded that the plaintiff’s
argument improperly focused on a matter of contract performance. See id.

      Here, as in SecureNet, the original Solicitation set forth the requirement to
comply with the AMC regulation in its own Section H, entitled “Special Contract
Requirements.”13 AR at 242. However, the Solicitation also listed “the offeror’s
possession of or plan of action to obtain AMC Certification” as an aspect of

      13
           / That section provides as follows:

                AMC CLAUSES
                H-1 Air Mobility Requirements

                (a) Contractor is obligated to comply with generally accepted
                standards of airmanship, training, and maintenance practices and
                procedures. Contractor must also satisfy DOD quality and safety
                requirements as described in 32 CFR Part 861, Section 861.3. In
                addition, contractor shall comply with all provisions of applicable
                statutes, tenders of service, and contract terms as such may affect
                flight safety, as well as with all applicable Federal Aviation
                Administration Regulations, Airworthiness Directives, Orders,
                rules, and standards promulgated under the Federal Aviation Act
                of 1958, as amended. Compliance with published standards may
                not, standing alone, constitute compliance with generally accepted
                standards of airmanship, training, or maintenance.

AR at 242.

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proposals which would be reviewed by the Navy. See id. at 280. Further, after the
Solicitation was revised, Section M placed an even heavier obligation on the Navy
to examine offerors’ efforts to meet the AMC certification requirement during its
analysis of Technical proposals. Id. at 1643, 1655 (stating that, “[i]f an offeror
lack[ed] current AMC approval, its submission of the AMC Form 207, DOD
Statement of Intent, [would] be evaluated to assess the likelihood of obtaining
approval”). Because the Solicitation included this evaluation criterion, the
question of whether an offeror would comply with the AMC requirement does not
relate solely to contract administration after award. Cf. SecureNet, 72 Fed. Cl. at
809-10. It follows that the court may review whether the Navy properly evaluated
that aspect of Croman’s proposal.

       It is true, of course, that Croman’s ultimate certification under 32 C.F.R. §
861 is a matter of contract administration beyond the reach of the court. The bid
protest context undoubtedly does not permit the court to resolve that issue. The
court is entitled, however, to examine intervenor’s proposal, and the Navy’s
evaluation thereof, to determine whether the agency was reasonable in concluding
that Croman’s proposal was acceptable on its face. Precision Standard, 69 Fed.
Cl. at 755. In other words, the court must determine whether the agency complied
with Section M’s requirement that it assess the likelihood that Croman would
obtain AMC certification upon award. That inquiry overlaps significantly with
PHT’s challenge to the Navy’s evaluation of intervenor’s Technical proposal,
which is addressed in the next section of this opinion. Accordingly, these claims
will be considered together.

      B.     Proposal Evaluations

             1.    Croman’s Technical Rating

       At the heart of this protest is PHT’s contention that the Navy erred when it
concluded (1) that Croman’s Technical proposal complied with the terms of the
Solicitation and thus, was eligible for award and (2) that Croman’s Technical
proposal warranted a rating of “Outstanding/Low Risk,” with no weaknesses. In
support of those broad assertions, plaintiff argues that the agency misconstrued
information provided to it by intervenor and the AMC. Such a claim hinges, of
course, on the content of those communications.

                   a.     Communications Related To AMC Certification
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       The record shows that Croman’s first proposal, submitted in August 2005,
stated as follows regarding AMC certification:

            [].

AR at 716, 725. In its revised proposal, Croman stated that

            [].

Id. at 3799, 3807. According to a March 1, 2006 Source Selection Evaluation
Board (SSEB) Evaluation Plan, Navy employees Charles Myers and LT Shultz
were assigned to review those statements, as part of the agency’s effort to
“[e]valuate the offeror’s proposed AMC Certification approach for ability to
comply with the Air Mobility Command (AMC) approval as per 32 CFR 861 or
demonstrated ability to receive AMC approval after contract award through
submittal of a completed AMC Form 207, DOD Statement of Intent.” Id. at 1997,
2002. In addition, the Navy asked the AMC to assist it in evaluating offerors’
likelihood of certification. The evidence shows that, on February 22, 2006, the
Navy’s Contracting Officer (CO) and SSEB Chair, Mr. Robin Barnes, sent an e-
mail to AMC official Ms. Mary Reid, which advised her of the format of the
planned evaluation. Id. at 1911 (“Under our current construct, the AMC evaluation
will be a ‘risk’ evaluation based on the submitted Form 207, if they do not already
have AMC certification. The risk evaluation categories are attached . . . .”). Mr.
Barnes’ e-mail also stated that

            [t]he purpose of the AMC Certification element is to allow the
            offeror to provide Air Mobility Command AMC approval as per
            32 CFR 861 or demonstrate ability to receive AMC approval after
            contract award through submittal of a completed AMC Form 207,
            DOD Statement of Intent, with an assessment of the likelihood of
            obtaining approval and meet[ing] solicitation requirements, e.g.
            schedule.

Id. The CO requested that Ms. Reid

            complete worksheets for each offeror’s Form 207 provided, i.e.,
            high risk assignment should indicate what the weaknesses are in
            their Statement of Intent that would make it likely that they would
            not receive certification and be able to perform our mission. The


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             assumption is that certification inspections would be able to take
             place based on your normal scheduling practices after notification
             of award.

Id. (emphasis in original). Mr. Barnes also attached a “Technical Appendix” to the
e-mail which included a list of Risk Definitions, an “Evaluation Worksheet
(Technical),” a “Rated Summary Sheet (Technical),” and some instructions. Id. at
1914-19.

        Ms. Reid returned the completed worksheets to the Navy on March 7, 2006.
Id. at 1928-35. On PHT’s worksheet, Ms. Reid wrote, in a section titled []. No
weaknesses or deficiencies in plaintiff’s proposal were noted. Id. Regarding
Croman’s proposal, Ms. Reid []

             [].

Id. at 1934. Ms. Reid also submitted a chart which showed that PHT had been
approved by AMC to transport DOD passengers in its medium and heavy lift
helicopters, including the SK-61s that plaintiff had proposed to use in fulfillment
of the Navy contract. Croman, on the other hand, had no eligible helicopters. Id.
at 1931.

      After Ms. Reid’s evaluation was reviewed by the Navy, the agency issued
Evaluation Notices (EN) asking offerors to respond to the AMC’s concerns. An
EN to Croman dated March 8, 2006 stated as follows:

             [].

AR at 2262, 3145. In the meantime, an SSEB Recommendation to the Source
Selection Advisory Council dated April 10, 2006 and an SSEB Report dated April
17, 2006 indicated []. In addition, Croman’s proposal was assigned a Technical
Proposal Risk of Low. Id. at 2654, 2748. A May 25, 2006 SSEB Report, in
contrast, []

             [].

Id. at 2899. The report repeated, however, the finding that intervenor’s proposal
presented only a Low Technical risk. Id.

      On June 2, 2006, Croman responded to the Navy’s EN: []

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               [].

Id. at 3301.

      On June 6, 2006, another AMC employee, Mr. Matthew Berry, re-evaluated
Croman’s proposal based on intervenor’s response to the EN. Mr. Berry found as
follows:

               [].

Id. at 1945. Two days later, on June 8, 2006, the Navy’s Technical Team Leader,
Mr. Joe Brannan, completed a Technical Evaluation Worksheet for intervenor. Mr.
Brannan noted the weaknesses previously found in Croman’s proposal by the
AMC, []

               [].

Id. at 2263.

       Records created during the later stages of the Navy’s proposal evaluations
also acknowledged the fact that Croman lacked AMC approval. For example, an
Evaluation Issue Summary attached to the SSEB’s June 13, 2006 Pre-Final
Proposal Revision Report stated []. Similarly, the SSAC’s Final Evaluation Brief
to the SSA stated that []. Croman’s Technical proposal was ultimately rated
Outstanding/Low Risk.

                     b.   The Parties’ Contentions

       Based on the foregoing information, PHT argues first that it was
unreasonable for the Navy to conclude that Croman’s proposal was facially
compliant with the Solicitation’s AMC requirement. Plaintiff claims that, based on
Croman’s own representations regarding its flight experience, the Navy should
have recognized that AMC could not grant a certificate to intervenor. Plaintiff
admits that, under 32 C.F.R. § 861, no set formula is used to determine whether
applicants qualify for certification, and approval is committed to the sole discretion
of the AMC. PHT argues, however, that the discretion granted to AMC does not
permit that entity to certify an applicant despite its failure to meet the baseline
requirements set forth expressly in the AMC regulation. Pl.’s Resp. at 15. Plaintiff

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states that, “[a]lthough the criteria are not ‘inflexible,’ AMC may not ignore its
own regulations, and it is unlikely to accept Croman’s passenger service in other
aircraft as equivalent.” Id. at 15 n.7. Thus, plaintiff claims that although the Navy
could not make an ultimate conclusion regarding whether Croman would be
certified, it could make a reasoned judgment, from intervenor’s own statements,
that certification was unlikely. From that information, PHT contends, the agency
should have found intervenor’s proposal non-compliant with the terms of the
Solicitation.

       Plaintiff also contends that the Technical rating assigned to Croman’s
proposal was erroneous, and that the Navy erred when it failed to treat Croman’s
lack of certification as a weakness in its proposal. PHT insists that the information
contained in Croman’s communications to the Navy did not justify a rating of
Outstanding/Low Risk, because it revealed Croman’s inability to obtain AMC
approval before June 2007 at the earliest. Pl.’s Mot. at 29; Pl.’s Resp. at 28. PHT
asserts that “simply because the Solicitation allowed an offeror to obtain AMC
approval after award does not mean that the Navy cannot assign an appropriate
Weakness and Risk to an offeror that will not have approval until after award, or
lacks the required experience.” Pl.’s Resp. at 13. In plaintiff’s view, Croman’s
lack of AMC approval presented a major risk which should have resulted in a
rating of Medium or High risk, and the assignment of a proposal weakness.

       PHT has presented specific examples to show that the Navy misconstrued
information from Croman and the AMC. First, plaintiff alleges that intervenor
misled the Navy regarding its ability to become AMC certified. Pl.’s Mot. at 18-
20. []. PHT insists that, given Mr. Berry’s remarks, the Navy was on notice that
Croman was unlikely to receive AMC approval, despite intervenor’s assertions to
the contrary.

       PHT next alleges that Mr. Brannan’s June 8, 2006 evaluation report drew a
conclusion contrary to the information he had received from AMC. Id. at 21.
Plaintiff points out that, when read carefully, Mr. Brannan’s report acknowledges
AMC’s overall position that the weakness in Croman’s proposal was “still valid.”
Id. (quoting AR at 2263). Plaintiff contends that Mr. Brannan improperly found, in
spite of that representation by AMC, that Croman’s proactive steps toward
obtaining a certificate resulted in Low risk. Id. PHT argues that Mr. Brannan’s
conclusion was likewise inconsistent with AMC’s individual communications,
because

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             [].

[].

       In response, intervenor argues that the Navy properly evaluated the evidence
presented regarding whether Croman could obtain certification, including the
comments from AMC, and that the record supports the rating assigned to its
proposal. Int.’s Mot. at 22 (citing AR at 1934). In fact, intervenor states that PHT
has presented no more than a disagreement with the agency’s evaluation, which is
not a basis on which the court may interfere with the Navy’s action. Id. at 24. In
Croman’s view, AMC found that Croman was eligible for certification, and was
likely to complete the certification process quickly. Id. at 19. In support of that
interpretation, intervenor highlights AMC’s statement to the Navy that Croman had
taken “proactive action” and had “resolved most [of the AMC’s] concerns,” and
that only “minor issues” remained regarding Croman’s application, all of which
could be “quicky resolved.” See AR at 1934. According to intervenor, “[t]his
assessment by AMC directly contradicts PHT’s claim that nothing in the record
supports that AMC assessed a low risk for Croman.” Int.’s Reply at 13. Intervenor
also points out that, in an instance when AMC believed another carrier’s
experience was insufficient to secure its certification, AMC reported that concern
to the Navy in explicit terms. Int.’s Mot. at 20 (citing AR at 1937 [].

       Further, as a matter of policy, Croman argues that the AMC is in the best
position to interpret its own regulation, and that its interpretation is entitled to
substantial deference, given the flexible standard set out in 32 C.F.R. § 861.4(e).
In fact, based on the complexities of AMC certification, intervenor alleges that
“final resolution of [the] issue by the agency charged with administering such
requirements [] is particularly important.” Int.’s Reply at 11. Croman insists that
the Navy was entitled to rely on the conclusions from AMC, and thus, Mr. Brannan
acted properly in concluding in June 2006 that “‘AMC representative stated that
weakness still valid however Offeror’s proactive steps to achieve AMC
Certification results in low risk.’” Int.’s Mot. at 20 (quoting AR at 2263). Finally,
in response to PHT’s contention that Croman’s proposal was rated too highly,
intervenor highlights the SSEB’s report which identified five Technical strengths
in Croman’s proposal. Intervenor insists that those aspects of the proposal justify
the rating it received. Int.’s Reply at 14-15 (citing AR at 3420).


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       The United States agrees with Croman that the Navy’s Technical evaluation,
and its determination that intervenor would likely comply with the AMC
certification requirement, were reasonable. Defendant points out that Croman met
the Solicitation’s explicit requirements regarding AMC certification, and took
corrective action in response to the AMC’s concerns. Def.’s Mot. at 12 (citing AR
at 1786-88). In addition, the government asserts that AMC advised the Navy of a
favorable evaluation, and the Navy was entitled to rely on it. Id. at 13; Def.’s
Reply at 9. Defendant states that “[t]he Navy’s interest in Croman’s AMC
certification was limited to the information that Croman was likely to obtain the
certification in a reasonable period of time.” Def.’s Reply at 10. Like Croman, the
United States underscores AMC’s comment that although “minor issues” remained
regarding Croman’s certification, all of them could be quickly resolved. Def.’s
Mot. at 12 (citing AR at 1934). In addition, the government points to AMC’s
statement on June 6, 2006 that only “small issues” remained with Croman’s Form
207 application. Id. at 13 (citing AR at 1945). Defendant insists that, because the
relevant certifying authority found that only minor issues remained regarding
Croman’s AMC application, defendant’s Outstanding/Low Risk assessment is
supported by the record. Id. Moreover, the United States argues that the court may
not substitute its judgment for that of the contracting agency, much less an
independent governmental entity like AMC, which is charged with evaluating the
very issue presented here.

       Defendant also echoes Croman’s assertion that AMC certification is only
relevant to a small part of the contract, and that the Navy properly assigned a rating
to Croman’s proposal which also reflected its excellence in other areas relevant to
the Technical evaluation. The government insists that the Navy was entitled to
determine which work was most important to the contract, and assign ratings
accordingly, because an “agency’s needs and the best method of accommodating
them” are issues left to the sole discretion of a contracting agency. Def.’s Mot. at
13. The United States argues that, here, a potential lack of certification will not
interfere with the work deemed most important by the Navy. The government
explains that, because the Solicitation offered an ID/IQ contract, the Navy will be
required to issue task orders before any work is completed. Def.’s Reply at 6.
Thus, defendant claims that, to the extent AMC certification is relevant, it will not
prevent full performance unless and until the agency issues a task order directing
Croman to transport DOD passengers. Id. at 6-7.

                   c.     Were the Navy’s Conclusions Related to AMC

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                             Approval Reasonable?

       PHT is correct that, under the terms of the Solicitation, the Navy was
required to evaluate each offeror’s likelihood of securing AMC certification.
Section M of that document stated explicitly that “[i]f an offeror lack[ed] current
AMC approval, its submission of the AMC Form 207, DOD Statement of Intent,
[would] be evaluated to assess the likelihood of obtaining approval.”14 Id. at 1643,
1655; cf. SecureNet, 72 Fed. Cl. at 810. The record includes extensive
documentation which shows that the Navy did, in fact, undertake that analysis.
The parties have presented competing interpretations of the evidence which
resulted from that endeavor. However, the alternative interpretations of the
AMC’s comments do not establish whether the Navy correctly assessed the
information regarding Croman’s AMC certification.

       Fortunately, the question of whether the agency properly judged the
technical acceptability of Croman’s proposal is a relatively straightforward inquiry.
Before delving into that matter, it is worth repeating that, in reviewing the evidence
presented on these matters, the court may not substitute its judgment for that of the
contracting agency. Precision Standard, 69 Fed. Cl. at 755; Chapman Law Firm,
63 Fed. Cl. at 527. Indeed, regarding the first question presented–whether the
Navy correctly concluded that Croman’s proposal was facially compliant with the
Solicitation–the court must only determine whether the proposal, on its face,
should have lead the agency to the conclusion that Croman “could not and would
not comply with” the Solicitation’s terms. Precision Standard, 69 Fed. Cl. at 755
(internal quotations omitted).

      In the court’s view, nothing contained in the administrative record should
have led the Navy to conclude that Croman could not, or would not, ultimately


       14
          / []. The court agrees with Croman. To the extent those errors occurred, they are de
minimus errors in the procurement process which are not sufficient grounds upon which to
overturn the award. See Grumman Data Sys. Corp. v. Widnall, 15 F.3d 1044, 1048 (Fed. Cir.
1994) (“[S]mall errors made by the procuring agency are not sufficient grounds for rejecting an
entire procurement.”). On this record, there is ample evidence that the Navy completed the
evaluation required under the Solicitation when it reviewed Croman’s proposal. Indeed, as
summarized above, the agency engaged in an extensive colloquy with both intervenor and the
AMC in an effort to review Croman’s Form 207 and to estimate intervenor’s likelihood of
certification.

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become AMC certified. Intervenor did not take exception to the AMC provisions
of the Solicitation, but instead, provided all of the information requested of it on
that matter. See SecureNet, 72 Fed. Cl. at 810. Further, during AMC’s first
evaluation, Ms. Reid acknowledged some problems with Croman’s Form 207, but
concluded that []. Based on the comments as a whole, however, it is clear that the
AMC’s evaluations contained information sufficient to substantiate the Navy’s
ultimate conclusion that Croman’s proposal was facially compliant with the AMC
certification requirement. Precision Standard, 69 Fed. Cl. at 755.

       PHT’s second contention based on the communications summarized above,
that the Navy erred when it assigned a Technical rating of Outstanding/ Low Risk
to Croman’s proposal, requires a more detailed analysis. It is well settled that a
plaintiff bears a uniquely heavy burden when challenging such an evaluation.
“Indeed, a protestor’s burden is particularly great in negotiated procurements
because the contracting officer is entrusted with a relatively high degree of
discretion, and greater still, where, as here, the procurement is a ‘best-value’
procurement.” Banknote, 56 Fed. Cl. at 380; see also LaBarge Prods., Inc. v. West,
46 F.3d 1547, 1555 (Fed. Cir. 1995); JWK Int’l Corp. v. United States, 49 Fed. Cl.
371, 388 (2001). The United States Court of Appeals for the Federal Circuit has
explained that, to determine whether an agency’s decision is rational,

             [t]he test is whether the contracting agency provided a coherent
             and reasonable explanation of its exercise of discretion, and the
             disappointed bidder bears a heavy burden of showing that the
             award decision had no rational basis.

Banknote, 365 F.3d at 1351 (internal quotations omitted). A decision may be
deemed arbitrary and capricious only if the agency “entirely failed to consider an
important aspect of the problem, offered an explanation for its decision that runs
counter to the evidence before the agency, or is so implausible that it could not be
ascribed to a difference in view or the product of agency expertise.” Motor Vehicle
Manufacturers, 463 U.S. at 43.

       Further, “in cases such as this, when a negotiated procurement is involved
and at issue is a performance evaluation, the greatest deference possible is given to
the agency –what our Court has called a ‘triple whammy of deference.’” Gulf
Group Inc. v. United States, 61 Fed. Cl. 338, 351 (2004) (quoting Overstreet
Electric, 59 Fed. Cl. at 117 (characterizing the standard of review as “near

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draconian”)). In other words, the deference afforded to an agency’s decision must
be even greater when a trial court is asked to analyze a technical evaluation.
Indeed, “the minutiae of the procurement process in such matters as technical
ratings and the timing of various steps in the procurement . . . involve discretionary
determinations of procurement officials that a court will not second guess.” E.W.
Bliss Co. v. United States, 77 F.3d 445, 449 (Fed. Cir. 1996); see also Halter
Marine, Inc. v. United States, 56 Fed. Cl. 144, 158 (2003). For this reason, the
Court of Federal Claims will rarely second guess a technical evaluation decision by
an agency. See Information Sciences, 73 Fed. Cl. at 104 (stating that the court “has
been reluctant to micro manage the minutiae of a procurement to ferret out
technical deficiencies”); Omega World Travel, Inc. v. United States, 54 Fed. Cl.
570, 578 (2002) (“This court will not . . . second guess the technical ratings that the
source selection committee gave to each offeror.”); Acra, Inc. v. United States, 44
Fed. Cl. 288, 293 (1999) (stating that “contracting officials have broad discretion .
. . to determine which technical proposal best meets its needs”). Indeed, the court
“is in no position to challenge the technical merit of any comments made on the
evaluation sheets or decisions made during the several stages of the evaluation” of
Croman and PHT’s proposals. Compubahn, Inc. v. United States, 33 Fed. Cl. 677,
682-83 (1995); see also Electro-Methods, Inc. v. United States, 7 Cl. Ct. 755, 762
(1985) (stating that “where an agency’s decisions are highly technical in nature . . .
judicial restraint is appropriate and proper”). For these reasons, PHT bears a heavy
burden to persuade the court that the Navy’s technical evaluation was irrational.
Information Sciences, 73 Fed. Cl. at 104.

       Here, in the court’s view, the comments from AMC support the Navy’s
evaluation of Croman’s Technical proposal, when they are considered along with
the other relevant parts of the record. []. It is critical to recognize, however, that
the manner in which such comments should be interpreted, during the course of a
technical evaluation, is left to the discretion of the contracting agency. Indeed, so
long as the Navy’s interpretation of those comments was reasonable, it must be
upheld. See and compare ORCA Northwest Real Estate Servs. v. United States, 65
Fed. Cl. 1, 6 n.10 (2005) (“Although ORCA presents many factual explanations,
clarifications, and restatements in an effort to prove the erroneous nature of HUD’s
evaluative conclusions, there has been no showing that these conclusions lacked a
rational basis. . . . In the absence of a compelling showing by ORCA, this court is
neither equipped nor empowered to look beyond the rationale contained in the
record.”); Hydro Eng’g, Inc. v. United States, 37 Fed. Cl. 448, 467 (1997) (court
refused to disturb agency’s determinations, noting that “[t]echnical ratings are

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aspects of the procurement process involving discretionary determinations of
procurement officials which a court should not second guess”). Here, several
specific comments from AMC indicated that Croman would obtain certification
with just a few small adjustments to its application. Despite other criticisms about
Croman contained in the comments, those comments do provide a “coherent and
reasonable explanation” for the agency’s decision on this matter. Banknote, 365
F.3d at 1351 (internal quotations omitted). It follows that the Navy acted
reasonably when it relied on those remarks to conclude that Croman’s proposal
presented only a Low Technical risk.

       Furthermore, it is important to note that, contrary to PHT’s suggestions, the
rating assigned to Croman’s proposal did not reflect an impeccable evaluation by
the Navy. []. Based on those statements, among other things, the Navy assigned a
Low risk rating to intervenor’s proposal. Under the definitions included in the
Solicitation, a Low proposal risk rating indicates that a proposal “[h]as little or no
potential to cause disruption of schedule, increase in cost, or degradation of
performance. Normal contractor effort will probably be able to overcome
difficulties.” AR at 1784. That rating, in other words, may be used in
circumstances in which some amount of risk is present in an offeror’s proposal. In
the court’s view, that rating adequately reflected the small risk, evident in the
comments from AMC, that Croman might not become certified within the relevant
time. Moreover, even if the court were to find a different rating to have been more
appropriate, there can be no doubt that the court may not substitute its own
judgment for that of the contracting agency. Grumman Data Systems, 15 F.3d at
1046.

       Finally, and perhaps most importantly, Croman is correct to point out that
the Navy’s Technical evaluation was not focused exclusively on AMC
certification. Instead, the Technical evaluation addressed several aspects of the
offerors’ proposals, including “the breadth and depth of understanding of the
complexity of each type of mission addressed” and, more specifically,

             possession of or plan of action to obtain AMC certification, use of
             GFE in the missions such as the pole, basket, fire fighting
             equipment and launch mission; as well as the ability to meet or
             exceed aircraft performance characteristics (e.g., speed/altitude,
             time on station, configuration/special equipment, and internal
             capacity), the proposed management of scheduled and
             unscheduled maintenance and impact to the fleet . . . proposed

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            pilot and crew FAA qualifications and availability to meet mission
            requirements.

AR at 1783. It is clear, therefore, that the likelihood of AMC certification was
only one of several considerations which led to the Navy’s conclusion that
Croman’s proposal presented only a Low risk of non-performance. Plaintiff has
attempted to show that passenger transport comprised a large portion of the work
to be completed under the challenged contract, and thus, that the AMC certification
issue should have been given the most weight by the Navy in its Technical
evaluation. On the record presented, however, it is impossible to determine with
any certainty what percentage of this contract will ultimately be comprised of
passenger transport work. Further, the history and purpose of the H-3 Squadron,
which is to be replaced by this procurement, and the Squadron’s Range Mission
Manual’s description of passenger transport work as “periodic” all indicate that
transport of DOD passengers will not be one of the ultimate awardee’s main
functions. See AR at 1443. On the record as a whole, the only reasonable
conclusion is that passenger transport work will comprise a relatively small part of
the contract at issue. It was reasonable, therefore, for the Navy to determine that
the AMC certification aspect of each proposal should carry relatively little weight
in overall Technical evaluations. The five Technical strengths assigned to
Croman’s proposal provide support for the rating ultimately assigned.

        In sum, the court finds no reversible error in the Navy’s conclusion that
Croman’s proposal was technically acceptable, or the rating assigned to Croman’s
proposal. The Navy was entitled to rely on comments from AMC regarding the
likelihood that intervenor would obtain certification under 32 C.F.R. § 861.4(e),
and the agency acted reasonably when interpreting and applying those comments
in its evaluation of Croman’s proposal. Moreover, AMC certification comprised
only a small part of the agency’s Technical evaluation. For these reasons, the
Navy’s assignment of an Outstanding/Low risk rating to intervenor’s proposal was
neither arbitrary nor capricious. In light of the substantial deference afforded to
contracting officers’ evaluations of technical proposals, the Navy’s determinations
on this matter must be upheld. E.W. Bliss, 77 F.3d at 449; Gulf Group, 61 Fed. Cl.
at 351.

            2.     Croman’s Experience Rating

      Plaintiff argues next that the Navy improperly evaluated the Experience

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section of Croman’s proposal, because it gave “undue consideration to the
experience of CSC, Croman’s large business subcontractor, in violation of the
Solicitation.” Pl.’s Mot. at 31. In support of that contention, plaintiff notes that,
although the Solicitation provided for the evaluation of subcontractors’ and critical
team members’ experience, it instructed that “[p]articular emphasis [would] be
placed on the offeror’s experience,” and “on the offeror’s possession of a plan of
action to obtain AMC certification.” Id. at 31-32 (citing AR at 1783). Plaintiff
claims that the Navy ignored Croman’s lack of experience with Navy target launch
and retrieval and the transport of DOD personnel (as demonstrated by its lack of
AMC approval), and instead placed “particular emphasis” on CSC’s experience.
Id. at 32.

       PHT complains, specifically, that the Navy improperly assigned a strength to
Croman’s proposal based on intervenor’s “[e]xtensive team member experience in
[project] related efforts.” Id. at 33 (citing AR at 3412); see also Pl.’s Resp. at 29.
[]. Pl.’s Mot. at 34. PHT argues that the Navy’s reliance on CSC’s experience was
especially unreasonable given that the contract had been set aside for small
businesses. Id. at 32.

       Plaintiff also disputes the strength assigned to Croman’s proposal for
“[s]ignificant personnel experience in PMRF Operations Area with relevant
mission experience.” Id. at 33 (quoting AR at 3412). PHT argues that this strength
was not warranted, []. Emphasizing again that “[t]he Solicitation required
particular emphasis on the offeror’s experience, including ‘experience in . . .
utilization of qualified personnel,’” plaintiff insists that Croman has no experience
with the utilization of qualified personnel for Navy range operations. Id. (internal
citation omitted) (quoting AR at 1783) (emphasis in original). For all of these
reasons, PHT urges the court to find that the Navy relied on improperly assigned
strengths to advise the SSA that “Croman’s demonstrated experience, particularly
with regard to PWS mission performance . . . enable[d] Croman to perform with a
very low risk of interruption or aircraft incidents, and with no mission area
learning curve concerns.”15 Id. at 34 (quoting AR at 3507).

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          / PHT also argues that the improvement in Croman’s Experience rating between the
first and second reviews was unjustified, given that intervenor lacked AMC certification during
both evaluations. In fact, plaintiff contends that Croman should have received a less favorable
Experience risk rating than it did, “because the risk that this lack of Experience would interfere
                                                                                      (continued...)

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       In response, the United States and Croman contend that it was rational for
the Navy to consider CSC’s management experience and specialized skills when
rating intervenor’s proposal, and that plaintiff has presented no more than a
disagreement with the agency’s Experience evaluation. Def.’s Mot. at 15-16. In
fact, defendants argue that plaintiff’s argument is contrary to the terms of the
Solicitation and the evidence as a whole. Defendants point out that the Solicitation
specifically anticipated the use of subcontractors, and advised offerors to present
evidence on their subcontractors’ experience. See Def.’s Mot. at 15; Int.’s Mot. at
28; Int.’s Reply at 15. Because Croman properly proposed to use CSC as a
subcontractor, and the Solicitation expressly permitted the Navy to consider the
experience of proposed subcontractors and assign proposal strengths based
thereon, Croman asserts that the Navy acted reasonably when it relied on CSC’s
experience to reach its conclusions. In fact, the United States contends that it
would have been arbitrary for the agency to penalize Croman for its proposed
subcontract with CSC. Def.’s Mot. at 16. In response to the claim that reliance on
CSC’s experience was inappropriate during the course of a small business set-aside
procurement, defendants point to the SBA’s determination that Croman’s
relationship with CSC did not jeopardize its status as a small business. Based on
the SBA’s findings, the government insists that “particular emphasis” could
properly be placed on both entities’ experience. Def.’s Mot. at 17 (citing AR at
3689-96); Def.’s Reply at 12; Int.’s Mot. at 28. Finally, intervenor points out that
because this was a negotiated procurement, the Navy was entitled to wide
discretion in evaluating proposals.

      As the parties’ briefing makes clear, the question of whether the Navy
properly evaluated Croman’s Experience begins with the language of the

       15
          (...continued)
with performance of the PWS requirements was certain.” Pl.’s Mot. at 34. The court agrees
with the United States, however, that absent an allegation of bad faith on the part of the Navy, a
comparison of the first and second evaluations is not relevant. This is not a case in which two
evaluations of identical proposals resulted in differing assessments. To the contrary, the record
is clear that here, the Navy’s second evaluation was based on different versions of the
Solicitation and of each offeror’s proposal, and was conducted by a different evaluation team.
Cf. Fort Carson Support Servs. v. United States, 71 Fed. Cl. 571, 599 (2006). Moreover, the fact
that the first evaluation did not comport with the methodology set forth in the original
Solicitation makes a comparison even less appropriate. Accordingly, because PHT has made no
allegation of bad faith, the arguments which rely on a comparison between the first and second
evaluations will not be considered.

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Solicitation. That document stated the following with regard to Experience:

             The Government will evaluate the offeror’s, and (if applicable), its
             principal subcontractors’ and critical team members’
             demonstrated relevant experience on the basis of its breadth and
             depth of experience performing the type of work required to meet
             program objectives. Particular emphasis will be placed on the
             offeror’s experience in coordinating with Government program
             and contracting teams, managing subcontractors, management of
             assets and resources to ensure successful completion of missions,
             and utilization of qualified personnel (including the use of FAA
             certified pilots) for contract performance, and performing tasks as
             described in the PWS.

AR at 1783. PHT argues that the phrase “particular emphasis” primarily modified
the term “offeror’s,” and so, the Solicitation is properly interpreted to mean that the
Navy was required to focus principally upon an offeror’s own experiences rather
than those of its subcontractors and team members. Plaintiff asks the court to
conclude, in other words, that the experience of each offeror should have been
given the greatest weight in the Navy’s evaluation. Defendants retort that, as
written, the first sentence of this provision explicitly authorized the agency to
consider the experience of offerors and proposed subcontractors and team
members.

       Both of these assertions are valid. Plaintiff is undoubtedly correct that the
plain language of the Solicitation instructed the Navy to place “particular
emphasis” on offerors’ experience. See id. In fact, the provision omitted the
clause, included in the first sentence of this section of the Solicitation, that
offerors’ experience would be deemed to include the experience of its proposed
subcontractors and critical team members. Id. Those facts support PHT’s position
that the experience of Croman itself, rather than that of CSC, should have been
weighted most heavily by the Navy. Cf. Comprehensive Health Servs., Inc. v.
United States, 70 Fed. Cl. 700, 733 (2006) (stating that because the solicitation did
not specify that an offeror’s prior experience was to be given more weight than its
subcontractors’ prior experience, the agency acted properly when it relied on the
prior experience of a proposed subcontractor); Overstreet Electric, 59 Fed. Cl. at
101 (stating that “[t]he solicitation did not mandate giving greater weight to past
relevant jobs performed by the bidder solely as a prime contractor”). To interpret
the phrase “particular emphasis” accurately, however, the court must consider it in

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the context in which it appears in the Solicitation. Banknote, 365 F.3d at 1353
(stating that the court must “consider the solicitation as a whole, interpreting it in a
manner that harmonizes and gives reasonable meaning to all of its provisions”). In
other words, the remainder of the sentence in which the challenged phrase appears
is equally important to the Solicitation’s meaning. See and compare Overstreet
Electric, 59 Fed. Cl. at 116 (stating that “the plain language . . . must be placed in
its proper context so as to give it and all parts of the solicitation a reasonable
meaning that avoids a wooden literalism that contravenes the spirit and purpose of
the solicitation”) (internal quotations omitted). Here, the disputed provision of the
Solicitation, read in its entirety, stated that “particular emphasis will be placed on
the offeror’s experience in coordinating with Government program and contracting
teams, managing subcontractors, management of assets and resources to ensure
successful completion of missions, and utilization of qualified personnel . . . for
contract performance, and performing tasks as described in the PWS.” AR at 1783
(emphasis added). In the court’s view, the list of specific project tasks which
followed the phrase “particular emphasis” indicates that the term was used to
identify the aspects of Experience which would be given the most weight by the
Navy, and not merely to identify the source of information which would be treated
as most important. That fact undermines the persuasiveness of plaintiff’s
suggested interpretation.

       Further, and more importantly, even if the court were to assume that PHT’s
interpretation of the Experience clause is correct, there is no evidence here that the
Navy evaluated offerors’ Experience improperly. Clearly, Croman’s Experience
rating was based in part on information about CSC. []. It is also true, however,
that the Navy assigned three other Experience strengths to Croman’s proposal
based on intervenor’s own history. Id. Because three of the five strengths which
led to Croman’s rating were derived from intervenor’s own experience, rather than
that of CSC, the court finds that the Navy complied with the Solicitation’s mandate
to place “particular emphasis” on the experience of offerors as opposed to
subcontractors. See id. at 1783. This determination is, however, as far as this court
is authorized to delve with respect to PHT’s concerns in this regard. Again, the
court is not in a position to examine the individual merit of the strengths assigned
to Croman’s proposal. See E.W. Bliss, 77 F.3d at 499.

      It cannot be disputed that agencies are entitled to wide discretion to evaluate
and rate proposals as a part of a best value determination. Overstreet Electric, 59
Fed. Cl. at 117 (stating that “Overstreet must overcome a triple whammy of

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deference by demonstrating by a preponderance of the evidence that the SSA
lacked any rational basis to grade [the awardee] as ‘Exceptional’”) (emphasis in
original); Banknote, 56 Fed. Cl. at 380. Indeed, the court is required to defer to
agency decisions on matters of proposal evaluation absent a showing that a
particular finding was arbitrary, capricious, or otherwise contrary to law. See
Overstreet Electric, 59 Fed. Cl. at 117. Here, the Navy complied with the
evaluation method set forth in the Solicitation to conclude that Croman’s proposal
presented a small advantage in Experience as a result of intervenor’s relationship
with CSC, and other aspects of Croman’s own history. Because the Navy’s
evaluation and rating of Croman’s proposal was rational, and supported by the
record, it was neither arbitrary, capricious, an abuse of discretion, nor otherwise
contrary to law.

             3.    Weakness in PHT’s Experience

       Plaintiff argues that the Navy acted arbitrarily and capriciously when it
found that PHT “lack[ed] experience in heavy lift target recovery, target launch
mission and medium target recovery lift missions,” and therefore “corporately
lack[ed] experience in managing and performing some of the PWS missions.”
Pl.’s Mot. at 35 (quoting AR at 3505). Plaintiff contends that this finding, and the
assignment of a weakness to the Experience section of its proposal, were
unreasonable. In support of that claim, PHT states that it currently employs former
Navy pilots who have substantial experience with target launch and recovery.
Plaintiff also points out that, according to the Navy’s debriefing, a PHT Experience
strength was “Pilots and aircrew have relevant Navy experience performing same
missions as required in PWS.” Pl.’s Mot. at 36 (citing and quoting AR at 3723-
37). Thus, plaintiff argues that, to the extent the Navy considered personnel
experience during its Experience evaluation, the proposals from PHT and Croman
were no different from one another. Id. Further, according to plaintiff,

             [].

Id. (citing and quoting AR at 3507, 4184-85) (internal citations omitted). Finally,
PHT argues that target launch and recovery are not complex or costly aspects of
the work sought by the Navy, and so, any weakness in its proposal related to those
areas should have carried little weight in the agency’s analysis of proposals. Id. at
35-36. To support that assertion, plaintiff highlights the SBA’s determination that
the target recovery work which CSC was to perform on Croman’s behalf would

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constitute only 3% of the contract’s value.

        Intervenor responds by arguing that the Navy’s determinations regarding
PHT’s Experience were reasonable and supported by the record. Int.’s Mot. at 29.
Croman notes first that the Navy repeatedly identified a weakness in plaintiff’s
proposal, related to target launch and recovery, during the evaluation process.
Id. (citing AR at 2164, 2172, 2176). In fact, as intervenor underscores, the
agency’s apparent concern about plaintiff’s lack of experience related to those
tasks led the Navy to conduct discussions with PHT. Croman argues that PHT’s
responses to discussion questions confirmed the Navy’s suspicion that plaintiff
lacked experience with target launch and recovery, and so, resulted in the eventual
assignment of a weakness to plaintiff’s proposal. Id. at 30 (citing AR at 3176,
3415, 3455, 3505, 3513). Croman argues further that the Navy did, in fact, credit
plaintiff for its plan to employ experienced personnel, and that PHT received a
rating of Low risk, rather than Moderate risk, as a result of that aspect of plaintiff’s
proposal. Finally, Croman contends that the SBA’s findings are irrelevant to the
Experience evaluation, as the Navy has the exclusive right to determine which
aspects of a procurement are most important to its award decision.

       On this point, the court agrees with Croman. The record shows that the
Navy conducted an extensive evaluation of PHT’s Experience, including but not
limited to its past target launch and recovery work. Further, although PHT
apparently alleges that it was surprised by the assignment of a weakness to its
second proposal, the evidence belies that contention. Indeed, there is no question
that the Navy engaged in adequate discussions with plaintiff regarding its
experience with target launch and recovery. The record is uncontroverted that,
when the Navy evaluated the revised proposals, PHT’s lack of prior experience in
those areas was addressed promptly by agency personnel. In an evaluation dated
May 17, 2006, for example, the Navy found as follows:

             [].

AR at 2176; see also id. at 2164, 2167, 2172-73, 2177-78, 2181, 2184 (reporting
similar findings). As a result of these concerns, the Navy sent ENs to plaintiff
which []. By allowing PHT to respond to the Navy evaluators’ concerns, the
agency satisfied the requirement that it afford plaintiff an opportunity to respond to



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the weakness identified in its proposal.16 48 C.F.R. § 15.306(d)(3) (2005).

        Regarding PHT’s more direct contention that the assignment of a weakness
to its proposal was unreasonable, it bears repeating that this court is not permitted
to second guess the Navy’s judgment in that regard. E.W. Bliss, 77 F.3d at 449.
Indeed, there can be no doubt that the court is prohibited from substituting its
judgment for that of a contracting agency regarding the merits of an offeror’s
proposal. Overstreet Electric, 59 Fed. Cl. at 17-18. Further, it is appropriate to
note that, when the Navy determined that PHT’s proposal was weak in the areas of
target launch and recovery, the agency acknowledged the experience plaintiff had
gained as a result of its past relevant contract, but concluded that the experience
was insufficient, given its relatively short duration. See AR at 3415. In light of
such a reasonable explanation for the agency’s conclusion, it cannot be said that
the Navy failed to present “a rational connection between the facts found and the
choice made.” Motor Vehicle Manufacturers, 463 U.S. at 43 (internal quotations
omitted). Accordingly, the Navy’s findings on this matter must not be disturbed.
The court concludes that the Navy’s assignment of a weakness to PHT’s proposal,
in the area of target launch and recovery, was neither arbitrary, capricious, an
abuse of discretion, nor otherwise contrary to law.


              4.      The Navy’s Best Value Determination

       Last, PHT argues that the Navy’s best value determination was arbitrary and
capricious, and that the agency evaluated proposals improperly to justify an award
to Croman. These broad contentions rest, of course, on plaintiff’s specific
complaints that Croman’s Experience and Technical proposal ratings were
erroneous, and that Croman’s alleged advantage in Experience was based on an
unreasonably assessed weakness in PHT’s proposal. PHT insists that, even if
Croman has more experience than PHT with target launch and recovery, that
advantage was offset by Croman’s lack of experience with passenger transport.
Plaintiff claims that “[a]t minimum, the risk of Croman’s inability to perform

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          / Plaintiff also complains that the Navy’s assignment of this proposal weakness during
the second evaluation directly contradicts the results of the first evaluation, in which no such
weakness was identified. As explained above, however, plaintiff’s arguments which rely on a
comparison of the two sets of evaluations will not be considered in the absence of an allegation
that the agency acted in bad faith.

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critical tasks of the PWS equalizes any risks and weaknesses between Croman and
PHT, which would have made PHT’s lower price the determinative factor in the
Best Value analysis.”17 Pl.’s Mot. at 31. Plaintiff claims that while both offerors
were assigned proposal strengths based on their proposed personnel, the SSA was
improperly led to believe that Croman alone possessed that experience. In
addition, PHT states that the SSA was improperly led to believe that both were
“essentially equal” in Technical ratings, despite Croman’s lack of AMC approval.
Pl.’s Resp. at 28.

       In response, defendants argue that the Navy’s best value determination was
reasonable and fully supported by the record. Croman contends, for example, that
each individual evaluation score assigned by the agency was reasonable, and that
those scores were used properly to reach the Navy’s ultimate award decision. In
addition, the United States points out that while PHT submitted the lowest price
during the second evaluation, the Navy was not required to treat that fact as
outcome determinative, because the Solicitation explicitly stated that non-price
factors were “significantly more important” to the agency’s decision than price,
with Experience being the most important factor. Def.’s Mot. at 18 (quoting AR at
1782). Defendant and Croman underscore that, during the first evaluation, Croman
submitted the lowest bid, but neither fell below the independent government
estimate for the work. During the second evaluation, however, both offerors’ bids
fell below that estimate. Thus, defendants contend, the Navy was able to exercise
its discretion reasonably in choosing a proposal which did not include the lowest
price, but which nonetheless undercut the price which the Navy had determined to


       17
          / Plaintiff also argues that the Best Value Tradeoff analyses performed by the Navy
were contradictory. PHT notes that, during the October 6, 2005 Best Value Tradeoff, the Navy
found the benefit from Croman’s Experience to be “much like” the benefit from PHT’s
Experience, and not worth the payment of a price premium. Pl.’s Mot. at 38 (quoting AR at
1247). During the second Best Value Tradeoff, however, the agency concluded that Croman’s
advantage in Experience did justify a premium of approximately 4%, or $2.3 million. See id.
(citing AR at 3507). Plaintiff claims that the inconsistencies in those conclusions show that the
award to Croman was unreasonable, and that “[t]he Navy recognized that the Experience of
Croman and PHT was essentially the same and that any slight advantage that Croman might have
in this area was not worth a price premium. It was not until PHT submitted the lower price that
the Navy decided otherwise.” Id. at 39. In the court’s view, these arguments add little to PHT’s
overarching challenge to the Navy’s best value determination. Again, absent an allegation of
bad faith, a comparison of the results of the two evaluations would be inappropriate.


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be a reasonable fee for the work sought. Moreover, PHT’s final price was only 4%
lower than that submitted by Croman. The government argues that this small
savings offered by PHT’s proposal was outweighed by the significant
improvement in Experience offered by Croman. The United States and Croman
insist that the agency was entitled to make such a trade-off, under the terms of the
Solicitation, and that the SSA’s decision to do so, which was explained thoroughly
in the record, supports the Navy’s best value determination. Finally, the
government emphasizes that, while plaintiff’s arguments focus on AMC
certification, the Navy’s decision to entertain proposals from uncertified companies
shows that the agency placed little importance on offerors’ passenger transport
capabilities. Def.’s Reply at 13. According to defendant, “because the other, more
technically demanding, support functions were of paramount importance to the
Navy, the possibility of there being a delay in Croman’s passenger transport
capabilities did not detract significantly from its proposal.” Id. at 10. Defendant
states that “[e]ven assuming . . . that Pacific Helicopter’s AMC Certification was
an advantage over Croman, it was an advantage that the Navy did not value, at
least not more than it valued the management experience provided by Croman.”
Id. at 14.

       Before examining the parties’ contentions on this issue, it cannot be stated
strongly enough that “[e]ffective contracting demands broad discretion.” KSD,
Inc. v. United States, 72 Fed. Cl. 236, 253 (2006) (quoting Burroughs Corp v.
United States, 617 F.2d 590, 598 (Ct. Cl. 1980)). For that reason, “[p]rocurement
officers, especially those who procure by negotiation, are entrusted with a good
deal of discretion in determining which bid is the most advantageous to the
Government.” Tidewater Mgmt. Servs., Inc. v. United States, 573 F.2d 65, 73 (Ct.
Cl. 1978). Indeed, “[t]he wide discretion afforded contracting officers extends to a
broad range of procurement functions, including the determination of what
constitutes an advantage over other proposals.” Halter Marine, 56 Fed. Cl. at 159.
Further, in a case such as this one, in which a best value determination is at issue,
“the agency has greater discretion than if the contract were to have been awarded
on the basis of cost alone.” Park Tower Mgmt., Ltd. v. United States, 67 Fed. Cl.
548, 566 (2005) (citing E.W. Bliss, 77 F.3d at 449)). Finally, there is no question
that “[b]est value awards allow the Government to accept other than the lowest
priced proposal where the perceived benefits of the higher priced proposal merit
the additional costs.” B & S Transp., Inc. v. United States, 68 Fed. Cl. 103, 107
(2005) (citing 48 C.F.R. § 15.101-1(c) (2005)). For all of these reasons, a plaintiff
who challenges a negotiated procurement, in which a contracting officer has

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“engage[d] in what is inherently a judgmental process,” bears a particularly heavy
burden to show that the contracting agency acted in a manner which was arbitrary
and capricious. Galen Medical Associates, 369 F.3d at 1330 (internal quotations
omitted).

       Here, the court agrees with defendant that the administrative record sets
forth a detailed and persuasive explanation for the Navy’s award decision. After
the second evaluation, the Source Selection Advisory Council made the following
findings regarding its best value determination:

             [].

AR at 3507. This information was conveyed to the agency’s SSA, James A.
Meade, who reiterated, elaborated upon, and concurred with each of the SSAC’s
specific conclusions about why Croman’s proposal presented the best value to the
government. Id. at 3521-23. Each of the specific findings set forth in the SSAC’s
report are supported by independent evidence in the record. For example, plaintiff
challenges the SSAC’s statement that Croman and PHT’s proposals were
“essentially equal” regarding the Technical factor. However, that conclusion rests
soundly on the fact that, []. Because the Navy’s Technical evaluation implicated
many aspects of offerors’ proposals, it was reasonable for the SSAC []. Further,
the fact that Croman’s price was slightly higher than PHT’s during the second
evaluation lends little support to plaintiff’s claim because, at that point, both
offerors had proposed to fulfill the contract for less than the Navy had expected to
pay for it. In addition, the Solicitation explicitly permitted the agency to award the
contract to an offeror which had not proposed the lowest price, if its proposal was
deemed the most advantageous to the government. See AR at 1781. Thus, the
Navy was entitled to conclude that, although PHT had submitted the lowest priced
proposal, Croman’s proposal nevertheless presented the best overall value to the
government. B & S Transport, 68 Fed. Cl. at 107. And finally, plaintiff’s
contention that Croman’s advantage in target launch and recovery experience was
outweighed by its own superior experience with passenger transport is exactly the
sort of value judgment which must be left to the discretion of the contracting
agency. Halter Marine, 56 Fed. Cl. at 159. Based on the Navy’s detailed
explanation of its best value determination, and its reasoned evaluation of
proposals, the court concludes that the Navy’s award decision was fully supported
by the record. It follows that the decision was neither arbitrary nor capricious, and
it must be upheld.

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                           CONCLUSION

For the foregoing reasons, it is hereby ORDERED as follows:

(1)   Plaintiff’s Motion for Judgment on the Administrative Record,
      including all of its requests for injunctive and declaratory relief, filed
      October 10, 2006, is DENIED. The Cross-Motions for Judgment on
      the Administrative Record, filed by Defendant and Intervenor-
      Defendant on October 23, 2006, are GRANTED;

(2)   The Clerk’s Office is directed to ENTER final judgment dismissing
      the complaint with prejudice in this action;

(3)   On or before January 2, 2007, counsel for each party shall file with
      the Clerk’s Office a redacted copy of this opinion, with any material
      deemed proprietary marked out in brackets, so that a copy of the
      opinion can then be prepared and made available in the public record
      on this matter; and

(4)   Each party shall bear its own costs.


                                        /s/ Lynn J. Bush
                                        LYNN J. BUSH
                                        Judge




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